Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 1 of 154
                     UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF PENNSYLVANIA

                               .
  UNITED STATES OF AMERICA,    .
  CALIFORNIA, COLORADO,        .   Case No. 5:15-CV-06264-EGS
  CONNECTICUT, DELAWARE,       .
  DISTRICT OF COLUMBIA,        .   601 Market Street,
  FLORIDA, GEORGIA, HAWAII,    .   Philadelphia, PA 19106
  ILLINOIS, INDIANA, IOWA,     .   Wednesday, December 20, 2017
  LOUISIANA, MARYLAND,         .
  MASSACHUSETTS, MICHIGAN,     .
  MINNESOTA, MONTANA, NEVADA, .
  NEW JERSEY, NEW MEXICO,      .
  NEW YORK, NORTH CAROLINA,    .
  OKLAHOMA, RHODE ISLAND,      .
  TENNESSEE, TEXAS, VIRGINIA, .
  And WISCONSIN, ex rel.       .
  CATHLEEN FORNEY,             .
                               .
          Plaintiffs/Relator, .
                               .
               vs.             .
                               .
  MEDTRONIC, INC.,             .
                               .
          Defendant.           .
  . . . . . . . . . . . . . . .
             TRANSCRIPT OF MOTION FOR SUMMARY JUDGMENT
          BEFORE THE HONORABLE EDWARD G. SMITH, U.S.D.J.
                    UNITED STATES DISTRICT JUDGE
  APPEARANCES:

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  (Appearances Continued)

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  Proceedings recorded by electronic sound recording,
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Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 2 of 154
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Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 3 of 154
                                                                         3

                                   INDEX


                                                                  Page


  ARGUMENT BY MS. MAYER                                              4

  ARGUMENT BY MS. BURKE                                             71

  FURTHER ARGUMENT                                                  94

  COURT DECISION                                             (Reserved)
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 4 of 154
                                                                             4

 1           (Proceedings commence at 9:59 a.m.)

 2           (Call to order of the Court)

 3                 THE COURT:     Good morning, Counsel.

 4                 COUNSEL:     Good morning.    Good morning, Your Honor.

 5                 THE COURT:     Please be seated.    Thank you.

 6                 The Court is called to order in the matter of the

7      United States of America, and in particular Cathleen Forney

8      v. Medtronic, Inc.       This is Civil Action Number 15-6264.

9                  The Court convenes today to hear argument with

10     respect to the defendant's motion for summary judgment, based

11     on the public disclosure bar.       The defendant claims that the

12     public disclosure bar does apply in this case.          Obviously,

13     the plaintiff -- the defendant claims that; the plaintiff,

14     obviously, disagrees.

15                 Counselor, are you ready to argue on why I should

16     throw this case out, based on the public disclosure bar?

17                 MS. MAYER:    Thank you, Your Honor.

18                 THE COURT:    Certainly.     And you may argue wherever

19     you're most comfortable.

20                 MS. MAYER:    Thank you.

21                 I'd like to start just by talking very briefly, by

22     way of introduction, about the prior-filed qui tam

23     complaints, and then I'll jump right into the initial set of

24     arguments, which is the discussion of why these prior-filed

25     qui tam complaints constitute public disclosures under the
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 5 of 154
                                                                         5

 1     False Claims Act's public disclosure bar.

 2                  Over the course of about three years, four years, a

 3     series of False Claims Act complaints came out from under

 4     seal.   And in each of those complaints, the Relator in the

 5     case, which was a former Medtronic employee, made

 6     allegations.    Some of those allegations are entirely focused

 7     on the same theories that Ms. Forney is alleging in her

 8     complaint.    Some of them are focused on other theories, but

 9     include theories that Ms. Forney has alleged in her

10     complaint.

11                  And one of them in particular, the Stokes case,

12     which we'll talk a little more about later, has a different

13     legal theory and a lot of facts in support of that theory

14     that is not in Ms. Forney's case, but, along the way and

15     necessary to that theory, alleges facts that are very

16     pertinent to, and disclose pertinent facts relating to the

17     allegations in Ms. Forney's complaint.        And I'll tie that

18     together in a minute.

19                 What I wanted to say, by way of introduction, is

20     introduce you a little bit to the Relators in these cases

21     because Ms. Forney's brief emphasizes that Ms. Forney is a

22     long-time employee of Medtronic before she left her

23     employment; that, as a result, she is not the kind of relator

24     that the statute intends to bar, and that that's a fact

25     that's germane to the analysis that the Court is going to go
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 6 of 154
                                                                         6

 1     through today.

 2                 I wanted to talk just briefly about the relators in

 3     these other complaints, both to balance the record on this,

 4     and to point out that, in fact, whether the relator was a

 5     long-time employee or not is not relevant.         There is one

 6     relevant question that Ms. Forney's experience can speak to,

 7     which is:    Does she have independent information that she

 8     disclosed to the Government in advance of filing her action

 9     that materially adds to the action?        On that point, she's

10     entitled to, and she has, through declarations, stated that

11     the information she supplied was not based on the prior-filed

12     qui tam complaints, and that she had not seen them.

13                 Other than that statement, all of the color about

14     her tenure at Medtronic, the different positions she held,

15     and the extent of the information she gathered from the

16     company during that time is literally irrelevant and actually

17     cannot be considered for purposes of evaluating the public

18     disclosure bar.

19                 But for starters, I also wanted to point out that

20     Ms. Forney is not unusual in being a former employee,

21     bringing a case, and having personal and important

22     information to share with the Government, from her

23     perspective.

24                 In the Burns case, the relator was a ten-year

25     employee of Medtronic when the amended complaint was filed.
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 7 of 154
                                                                            7

 1     He had been a sales representative in the Cardiac Rhythm

 2     Business Unit, which is the business unit where the device

 3     checks are at issue in this case.        And he makes allegations

 4     about free device checks used as a kickback in Florida and

 5     North Carolina, with a great deal of specificity, including

 6     providing examples of superbills and physician practices that

 7     he alleges were the recipients of these kickbacks, and

 8     participated in the scheme.

 9                 The Onwezen and Brill -- it's the Onwezen, et al

10     complaint, which we refer to as the "Onwezen Complaint" in

11     our papers, had three relators.       It sued multiple defendants,

12     including Medtronic, in the industry.        And two of the

13     relators were Medtronic employees.        Onwezen herself was a

14     clinical specialist, so, again, the exact type of person that

15     allegedly, at Medtronic, their job is to provide free device

16     checks and interrogations, day in and day out, to everybody

17     who needs one for a Medtronic device.        And she was employed

18     in that role for three years, and said that's what she did.

19                 Brill was employed for ten years as a field

20     engineer, which is another type of field support role in

21     Medtronic, in its business unit, and then was promoted to

22     principal field engineer.      And between Onwezen and Brill,

23     they cover Missouri and Massachusetts.        Those are where they

24     worked, but their allegations go broader than that.

25                 In the Stokes complaint, the relator was a senior
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 8 of 154
                                                                             8

1      manager of healthcare economics.       He did -- personally

2      developed economic tools and resources for Medtronic to use

3      in this Cardiac Rhythm Unit.       He visited and worked with over

4      300 hospitals across 40 states, teaching them about

5      documentation practices, coding, and billing for devices.

6                  And he alleges in his complaint -- this is the one

7      where his legal theory is very different from Ms. Forney's.

8      But he alleges in his complaint that Medtronic reps were

9      trained to and providing -- Medtronic field personnel -- and

10     providing device checks, programming devices and

11     interrogations nationwide, and that -- and then he goes on.

12                 He actually had gotten MedPAR data and analyzes

13     clusters of what he alleges are statistically significant

14     outliers in 18 different regions of the country, identifying

15     multiple hospitals in those regions, where he says there was

16     an overuse of the theory in the case, which was that the reps

17     were programming these devices during their checks and during

18     their -- what was service they were providing in doctors'

19     offices, that they were programming the devices to expire

20     quickly, so that there would be a need to ex-clamp them and

21     put a new one in quickly.      So, again, the legal theory is

22     different, but the necessary allegation of the theory is that

23     Medtronic employees were controlling these checks and

24     programming events, and were doing them all the time.           And

25     there's a lot of specificity about where that was happening.
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 9 of 154
                                                                         9

1                   And then, in the Schumacher complaint (phonetic),

2      he was a short-term employee, only for one year, at

3      Medtronic.    But he was a business development manager, so,

4      yet again, another type of position within the organization,

5      adding color to the allegations.       He certainly alleged

6      theories of off-label promotion and kickbacks in the form of

7      cash payments, relating to clinical trials and research.        But

8      he also, very specifically, alleges that the kind of

9      reimbursement and other business consulting that is very much

10     a part of Ms. Forney's theory was being used as a kickback,

11     as well, during that time frame, and he has some specific

12     examples related to that in his complaint.

13                  So, collectively, these four complaints -- and I'm

14     focusing on the Medtronic ones for now, at this introductory

15     stage -- you know, cover almost 25 years or more of

16     employment at Medtronic, across a range of positions, a range

17     of geographies; Florida, you know, District of Columbia,

18     California, Missouri, Massachusetts.        They have varying

19     degrees of specific examples of the kind of misconduct that's

20     at issue in Ms. Forney's case.       And they all allege

21     substantially the same theories that Ms. Forney is now

22     pursuing.

23                  So I'm going to turn then to the question of

24     whether these qui tam complaints are the kinds of documents

25     that qualify as a public disclosure under the False Claims
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 10 of 154
                                                                        10

1      Act because we didn't focus on that in our opening brief

2      because it's really not something that's contested in the

3      case law ever.     And we believe that, under the plain language

4      of the statute and Supreme Court precedent that goes back

5      almost two decades, it's really not something that's in

6      dispute.    So let -- we can talk about that.

7                  Before we do, I did want to just, again, mention

8      that, for purposes of argument and the briefing, as we noted

9      in the reply, that Ms. Forney has narrowed her case a little

10     bit to focus on only conduct that resulted -- that occurred

11     on or after March 23rd, 2010, so that the current --

12                 THE COURT:    Put it in the --

13                 MS. MAYER:    -- version --

14                 THE COURT:    -- post-amendment --

15                 MS. MAYER:    -- of the post-amendment --

16                 THE COURT:    So there's no --

17                 MS. MAYER:    -- version of the --

18                 THE COURT:    -- pre-amendment --

19                 MS. MAYER:    -- bar applies.

20                 THE COURT:    No pre-amendment allegations in this

21     case.    Okay.

22                 MS. MAYER:    And then, second, that Ms. Forney is

23     not pursuing any claims based on the theory that kickbacks

24     associated with implant procedures remain a part of the case.

25     That was something that was part of her allegations in the
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 11 of 154
                                                                             11

1      complaint, and we addressed it in our opening brief.             But Ms.

2      Burke has confirmed that she is limiting the theories that

3      she is proceeding on and defending here to the device checks

4      and the kickback and the practice management, consulting

5      services aspects.

6                  THE COURT:    All right.    Now I want to get this

7      quick.    So it would be no conduct prior to March 10 of 2010?

8                  MS. MAYER:    March 23rd of 2010.

9                  THE COURT:    March 23rd of 2010.     So we no longer

10     have to dual distinction between pre and post.

11                 MS. MAYER:    Right.

12                 THE COURT:    And the theory now is limited to the

13     device checks, where somebody goes back, and Medtronic does a

14     device check, as opposed to the implants.         How do we describe

15     that?

16                 MS. BURKE:    Yes, Your Honor.     It's limited to the

17     device checks.     But then, in addition, the practice

18     management consulting, which subsumes the -- what the

19     defendant has labeled "administrative work" and

20     "reimbursement."     Those are all a part of what we label the

21     "practice management consulting."

22                 THE COURT:    Okay.    But not the implant -- is it the

23     implant -- you check on the implant, that part?

24                 MS. BURKE:    Your Honor, the Medtronic clinical

25     specialists and sales reps attend the surgical implants and
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 12 of 154
                                                                         12

1      are there to assist in interrogating the device at the actual

2      implant surgery.     For purposes of limiting the trial and

3      avoiding jury confusion, we've decided to go with what we

4      call the "device checks," which are well after surgery, and

5      are clinics run, in which the patients come back and simply

6      get the device checked.

7                   THE COURT:   Okay.   So all implant assistance, at

8      the time the implant is being inserted, those are being

9      withdrawn.

10                  MS. BURKE:   That's right.    We are not pursuing that

11     theory of liability at trial.

12                  THE COURT:   It's after they are out of the

13     operating room, now they're -- it's post-operative, and they

14     go back for a check, those are what the claim is, that that's

15     the kickback.

16                  MS. BURKE:   Yes, Your Honor.

17                  THE COURT:   Okay.   Thank you.

18                  Counselor, excuse my interruption.

19                  MS. MAYER:   So I think where we start, with the

20     question of whether the complaint qualifies as a public

21     disclosure is with the statute.        And the statute -- and I

22     don’t think there's any dispute about what the post-PPACA

23     public disclosure bar says about what types of documents

24     qualify as a public disclosure.        But for our relevant

25     purposes, the provision is 3730(e)(4)(A)(i), which is that
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 13 of 154
                                                                           13

 1     it's disclosed in a federal criminal, civil, or

 2     administrative hearing, in which the Government or its agent

 3     is a party.       So the question is:     Are these complaints

 4     disclosures in a federal civil hearing, in which the

 5     Government or its agent is a party?

 6                 And Ms. Burke has challenged a couple of different

 7     pieces of that.     First, she argues in her brief that, in

 8     fact, what Moore, a Third Circuit case from, I think, 2016 --

 9     it's either 2016 or early this year, but it's recent --

10     interpreting the public disclosure bar, she argues that Moore

11     holds that what that statute means is not Government or its

12     agent, but just Government.       Okay?   And then she takes that

13     to be a holding in the case, and argues from there.

14                 We addressed this in our reply brief, but I think

15     it's critical, when looking just at the language of the

16     statute and at Moore, to recognize that, in Moore -- again,

17     our view is the Court, when you read the decision properly,

18     is not holding, and cannot be viewed as holding that this

19     statutory provision does not mean what it says when it says

20     "or its agent;" that Moore was just sort of referring to that

21     language in shorthand because Provision (i) here was not even

22     a little bit at issue in the appeal, and so there was no need

23     for the Court to be fulsome with its quote from the statute,

24     when it was referring to it.

25                 The only public disclosures at issue in Moore were
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 14 of 154
                                                                              14

1      a FOIA report, which is -- the Court discussed whether it

2      qualifies as a public disclosure under (ii), and news media,

3      which qualifies as a public disclosure under (iii).              So, for

4      starters, the Court wasn't actually -- didn't have before it

5      any question about whether anything constituted a public

6      disclosure under (i), let alone whether a particular document

7      should be viewed as qualifying, when the Government was not a

8      party.

9                  In the District Court -- and this is where I think

10     some confusion comes into, in some of these cases.           In

11     addition to the tendency to speak in shorthand, in the

12     District Court, because claims bridged the PPACA amendment.

13     There was a claim, which didn't end up getting appealed, that

14     the defendant made, that the information that the relator

15     brought to the case was discovery that the relator had

16     secured by litigating a wrongful death action, a couple of

17     wrongful death actions, in Federal Court; and that,

18     therefore, the discovery, which qualifies as documents as --

19     that were disclosed in a federal civil hearing under the old

20     statute, qualified as a public disclosure, and served as a

21     bar under the old PPACA.

22                 And so those were private party litigation, as

23     opposed to litigation where the Government is a party,

24     meaning that it's the widow, who is the plaintiff, suing, you

25     know, the company defendant, and trying to get redress for a
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 15 of 154
                                                                          15

1      wrongful death.     It's a tort claim.     It's not a case where

2      the plaintiff is a relator, who's a statutorily designated

3      agent of a government.

4                  And so the District Court referred to the

5      requirements under the new statute as a requirement that the

6      Government be a party to the litigation, as a shorthand way

7      of distinguishing cases where, you know, you've got a tort

8      claim between a private citizen and another private citizen,

9      and nobody is an agent of the Government.         So there is no

10     analysis of the District Court in the briefs or in the Third

11     Circuit about whether an agent of the Government is somehow

12     excluded from the plain language of this amended statute.          So

13     --

14                 THE COURT:    It almost seems like they use -- the

15     public disclosure has been interpreted as public disclosure,

16     such that the Government is aware of this conduct, as much as

17     that the public is aware of this conduct.

18                 MS. MAYER:    I think it is -- it's not a -- there

19     isn't an obligation, when you're evaluating whether something

20     qualifies as a public disclosure, to determine that the

21     Government was aware of it --

22                 THE COURT:    But they were --

23                 MS. MAYER:    -- in addition --

24                 THE COURT:    -- a party to --

25                 MS. MAYER:    -- to evaluating.
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 16 of 154
                                                                          16

1                  THE COURT:    -- the suit.

2                  MS. MAYER:    And the reason why I just mention that,

3      for clarity's sake and to be candid with the Court, is the

4      news media, you know, bucket, there are documents that

5      qualify as news media that no one would suggest that DOJ

6      lawyer would notice in passing.

 7                 And the Moore case is a great example because one

8      of the news media reports was from the Vashon Beachcomber,

9      and just because I'm a nerd on this stuff, I had to look up

10     what that was.     And it's a local newspaper for an island in

11     Puget Sound.     It's -- you know, it would be like the

12     functional equivalent of some sort of local hometown weekly

13     from, you know, a small town around Easton.

14                 THE COURT:    Right.

15                 MS. MAYER:    We have something equivalent in the

16     town I live in, in Massachusetts, where the feature articles

17     are -- sometimes have a lacrosse team bid, and you know, the

18     pictures of the six-year-olds, you know, donating to the --

19                 THE COURT:    Right.

20                 MS. MAYER:    -- local animal shelter.      This is not a

21     big circulation paper, but it's news media, even though the

22     Government doesn't know about.

23                 Here, I think, in particular, there's no need to

24     take an unduly limiting -- well, aside from the fact that

25     Third Circuit, under Moore, simply didn't hold that agent is
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 17 of 154
                                                                          17

1      excluded from the statute here, and nor could they because

2      it's the plain language of the statute.         It would make no

3      sense because -- especially for purposes of False Claims Act

4      complaints.     Although the Government may eventually decline

5      to intervene, when the relator brings the action, in the

6      first instance, they all start the same way, which is by

7      filing -- which is by providing the Government all your

8      information that you want to rely on in the case, and then

9      filing the complaint under seal, and serving it on the

10     Government.

11                 So, literally, by statutory definition, every

12     single False Claims Act complaint is not just something the

13     Government might happen on, if they're paying attention to

14     the news in Puget Sound.       But it is a piece of litigation

15     that is served on the Government, and that then triggers, on

16     the part of the Government, some obligations to review the

17     information, to investigate it, to advise the Court within 60

18     days whether it was going to intervene, or seek an extension

19     of that time.

20                 And so, for purposes -- to the extent that, I

21     think, Congress -- again, and I don’t want to overemphasize

22     the importance of legislative history here, especially where

23     there really isn't any of these particular changes to the

24     False Claims Act.      But as a general directional matter, the

25     balance that we try to strike, and that Congress has tried to
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 18 of 154
                                                                        18

 1     strike over the years with the public disclosure bar, again,

 2     just directionally, is to allow suits to proceed, where the

 3     relator is bringing new information that could really be

 4     materially helpful to the Government in rooting out fraud.

 5     Those should be allowed to proceed, even if the Government

 6     doesn't intervene and take over the case, but that there's

 7     got to be some recognition that you can't just keep, you

8      know, pinging the Government ad infinitum on the same theory,

9      over and over again.

10                 At some point, if you're not bringing anything new

11     to the table, whether you're parasitic or not, even if it's

12     all your own information, if you're really not bringing

13     anything new to the table, and they've already looked at it

14     before, and they've been to this dance --

15                 THE COURT:    But I thought --

16                 MS. MAYER:    -- if they don't intervene, it can have

17     --

18                 THE COURT:    I thought the theories in this case

19     were somewhat novel.

20                 MS. MAYER:    So --

21                 THE COURT:    And that kind of goes against this

22     whole idea that there might be a public disclosure bar.

23                 MS. MAYER:    They're novel in the case law, they're

24     novel -- it's not -- and I -- I mean, I'm happy to represent

25     to the Court I was not aware of the prior-filed qui tams when
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 19 of 154
                                                                          19

1      we were litigating the motion to dismiss.         It doesn't change

2      the fact that, under the case law, you do not see cases

3      litigating these issues.

4                  And I think, critically, what you also don't see

5      is, after five complaints, the Department of Justice stepping

6      in and asserting that it believes that this conduct violates

7      the law.    Now you can't -- I mean, they can decline to

8      intervene for any reason at all, and so I don’t want to

9      suggest that that's a reason to infer that, under the law,

10     that there's any legal consequence to that.          But what it goes

11     to is that, as a practical matter, these issues have never

12     been teed up to a court to resolve, as to whether this is an

13     anti-kickback statute, and for what --

14                 THE COURT:    Could that be for the very reasons set

15     forth in your motion to dismiss, originally?

16                 MS. MAYER:    That these are not remuneration under

17     the anti-kickback statute?       Yes, absolutely.     I -- you know,

18     again, I don't -- at this stage, on this record, I can't make

19     representations about what was or wasn't in the mind of the

20     lawyers at the Department of Justice, when they investigated

21     claims coming out of this prior-filed complaints, and

22     ultimately chose to pursue some claims in a couple of the

23     complaints, but none of the claims that overlap with Ms.

24     Forney's allegations.      And I don’t think the Court can base a

25     decision, based on the Department of Justice's decision not
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 20 of 154
                                                                             20

1      to act.    But yeah, I think, you know, certainly, should the

2      case proceed, that's all relevant information to any

3      potential sort of merits resolution of the issues.

4                  Here, what's critical under the False Claims Act,

5      for purposes of evaluating whether these prior-filed civil

6      qui tam complaints can qualify as public disclosures is that,

 7     in the first instance, Moore, because it is the Third

 8     Circuit, certainly has not held that, for purposes of

 9     (b)(4)(A)(i) that disclosures are limited to disclosures in a

10     hearing in which the Government, to the exclusion of its

11     agent, is a party.      So agent is in the mix.

12                 The next question is:      Well, is the relator an

13     agent of the Government, for purposes of the False Claims

14     Act?   And the answer there is in the Vermont Agency of

15     Natural Resources v. Stevens case that we cited.           It's the

16     Supreme Court.

17                 In that case, which was addressing the article --

18     the question of whether relators have Article III standing,

19     and it resolved it.      So you don't actually see this case

20     cited a whole lot.      There was a little flurry afterwards, but

21     then it kind of died out because, at some levels, some issues

22     get decided, and then you go forward.

23                 In this case, the -- there are two main legal

24     issues, and it's the first one addressing standing that I

25     want to point the Court to, and we have the cites in our
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 21 of 154
                                                                           21

1      brief.    But here -- this is at -- and I'm trying to get that

2      other case out here.

3                  But here, Justice Scalia, writing for the majority,

4      you know, starts talking about what might provide a basis for

5      Article 3 standing here.       And he recognizes that Stevens, the

6      relator here, contends he's suing to remedy an injury, in

7      fact, suffered by the United States.         So the first step is

8      the injury, in fact, at issue in these cases is an injury

9      suffered by the United States.        And so Scalia says:

10                 "It would perhaps suffice to say that the relator

11                 here is simply the statutorily designated agent of

12                 the United States, in whose name, as the statute

13                 provides, the suit is brought, and that the

14                 relator's bounty is simply the fee he receives out

15                 of the United States' recovery for filing and/or

16                 prosecuting a successful action on behalf of the

17                 Government."

18                 So the first step is to say, you know, well, under

19     the statute, he's a statutorily designated agent, and so many

20     that's enough here.      The Court then, of course, famously

21     says:

22                 "But that doesn't fully explain the personal

23                 interest that the relator has in the bounty."

24                 And so that what we have here -- and I'll go

25     through the different pieces because this is a nuance in the
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 22 of 154
                                                                         22

1      case that sometimes gets lost when it's summarized in the

2      lower courts later on, and they focus on the rationale for

3      standing over the bounty, is that, for the piece where the

4      Government retains an interest, Scalia has said -- and this

5      never changes through the opinion -- this is representational

6      standing, and the Government remains the real party-in-

7      interest to the case.      This is a concept that's familiar in

8      the law, and not unique to the False Claims Act.           The

9      Government can statutorily designate a relator their agent

10     for purposes of pursuing their own interest in a case.

11                 The Court then explains why that's not enough by

12     pointing to the fact that the statute provides that a person

13     may bring a civil action, both for the person and for the

14     United States Government.       So there's a sense in which the

15     individual is being given some sort of interest in the case;

16     and then goes on to talk about why -- what aspects of the

17     statute support that, and then says:

18                 "For the portion of the recovery retained by the

19                 relator, therefore, some explanation of standing

20                 other than agency for the Government must be

21                 identified."

22                 So then this sets up the analysis that ultimately

23     results in the Court concluding that, for the portion of the

24     recovery that is the relator's bounty, the right way to think

25     about standing is that it is a partial assignment of the
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 23 of 154
                                                                             23

1      Government's right to recovery.        And so that gives the

2      relator an interest, even though the injury, in fact, is

3      still with the Government, over the bounty.          But it doesn't

4      change the fact that the Court has carved out, at the outset,

5      for the rest of it, the basis for standing as agency.            So the

6      relator is the agent of the Government.

7                  And then the Court goes through its analysis,

8      including, because it's Justice Scalia, not just that

9      analytic analysis under the law, but also a detailed

10     historical analysis of the history of qui tam suits, and

11     ultimately concludes that, when combined with the theoretical

12     justification that we just discussed, that -- finds that the

13     standing is based on agency and this partial assignment of

14     right, with the historical discussion that leaves no doubt

15     that a relator, under the SAC, has Article 3 standing.

16                 And so this case -- again, and I think it's just

17     the Court confirming what's in the plain language of the

18     statute, so I don’t think this is anything that's overly

19     dramatic.    Whether the relator is an agent hasn't been

20     something that's really been, you know, super important since

21     then; it's just there.      There's been more focus on the

22     partial assignment of right part, which covers the bounty,

23     but there it is.

24                 So, again, we believe that, when you've got a

25     Supreme Court, in the context of making a decision about the
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 24 of 154
                                                                           24

1      standing of the relator to bring the cases, you know, it has

2      a thoughtful analysis; points out that, under the statute,

3      this is a statutory grant of agency, which covers some, but

4      not the entirety of the relator's -- of the case; and then

5      goes through an analysis for the portion of the case that's

6      covered by the relator's bounty, and finds the partial

7      assignment of right rationale, that it is beyond clear that,

8      for purposes of the public disclosure bar, in a non-

9      intervened case, where we're relying on the relator as a

10     party -- and I'll get to that in a moment -- or really, in

11     any case, the relator is -- qualifies, and these complaints

12     qualify as being disclosures in federal or civil hearings, to

13     which the Government or its agent is a party.

14                 The next work that I wanted to talk about, or the

15     next piece to this that I want to talk about is:           Is the

16     Government a party to the two complaints to which it

17     intervened?     There, the relator argued that, because the

18     Government characterized in its -- so those are two cases

19     where the Government, it's undisputed, did intervene to

20     settle the case, and so they joined the case.          The

21     Government, in joining the case, styled its intervention in

22     its own filing.     And this is, you know, not something that

23     the Court -- that was litigated, the propriety of which, but

24     they styled -- chose to style their filing as an

25     intervention, in part, and a declination, in part, signaling
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 25 of 154
                                                                             25

1      that they -- because what the Government is doing here is

2      settling and releasing, with prejudice, certain claims.

3                  But the Government takes the position that, if it

4      is not, itself, settling other claims that have been brought

5      in the complaint, the dismissal of that case should be with

6      prejudice as to the relator, but without prejudice as to

7      somebody else, in the future, potentially bringing those

8      claims on the part of the Government.

9                  It is not an issue at stake in this case, but

10     occasionally, there are disputes about whether the Government

11     can do that, and if so -- you know, to the extent it would

12     violate normal res judicata principles and all that.             None of

13     that matters here.

14                 What matters here is, when the Government does

15     that, Ms. Forney is arguing that the Government becomes a

16     party only to certain claims in the case, but not to the

17     others; and that, since the Government, undisputedly, did not

18     settle allegations in the Schroeder and Onwezen complaints,

19     that overlap with Ms. Forney's allegations, the Government

20     did ever become a party in the sense relevant for application

21     of the public disclosure bar to the Onwezen and Schroeder

22     cases.

23                 That interpretation of what is going on, I think,

24     is foreclosed by the statute.       And we have pointed the Court

25     to a recent District of Massachusetts case that just kind of
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 26 of 154
                                                                          26

1      collects the analysis.

2                  I also think it's worth pointing out that Ms.

3      Forney has not pointed to any case law supporting her

4      interpretation of the statute to allow the Government to

5      intervene in a claim only, and not be a party to the whole

6      action.    And so let me explain why I think this argument that

7      has been made doesn't -- her argument doesn't work.

8                  First of all, if you start with the language of the

9      statute, in 3730(b)(2), it says that:

10                 "The Government may elect to intervene and proceed

11                 with the action within 60 days after it receives

12                 both the complaint and the material evidence and

13                 information."

14                 So, when it talks in the statute about the

15     Government intervening, it doesn't say, when the Government

16     may elect to intervene and proceed with claims; is says the

17     action.    And it repeats this formulation in 3730(b)(4), where

18     it says:

19                 "Before the expiration of the sixty-day period, the

20                 Government shall proceed with the action, in which

21                 case the action shall be conducted by the

22                 Government."

23                 So the statute contemplates intervention as an act

24     that brings the Government into the case.         I think it's a

25     separate question whether you intervene in the case, can you
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 27 of 154
                                                                             27

1      settle some claims, what's the effect of that.          I think the

2      point here is the Government can't, just by titling and

3      styling what it's doing, in a way that's not contemplated by

4      the statute, you know, avoid the statute.         And again, the

5      Government -- I have no issue with whether the Government

6      intervened in part or didn't intervene in part in those

7      particular cases, other than to say that, under the statute,

8      they became a party to the action when they did that for

9      purposes, certainly, of the public disclosure bar.

10                 The other sort of piece of this that I want to

11     mention is to sort of just take a step back.          This is also

12     not something that's unusual or unique to the False Claims

13     Act.    If you think about a piece of civil litigation,

14     sometimes a plaintiff sues six defendants and has five

15     claims, and three of the claims are against two defendants,

16     and three of the claims are against all of the defendants.

17     Okay?    So the defendants aren't necessarily in all of the

18     claims, but Rule 4 still applies.        Then every defendant,

19     whether they're in some or all of the claims, gets served

20     with the complaint, asked to respond.         They are a full party

21     to the action, even if they are only a party to certain

22     individual claims.      So these are not mutually exclusive

23     concepts, for purposes of how the civil rules characterize

24     the parties.

25                 To the extent there's a conflict between the civil
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 28 of 154
                                                                                 28

1      rules and the False Claims Act, of course, the statute that

2      provides for specific procedures would control, but there is

3      no conflict here.      So the Government, when it intervened,

4      notwithstanding the way it styled its intervention, became a

5      party to those actions.       And therefore, those are also both

6      actions where, not only is the relator an agent of the

7      Government, but the Government is a party to the action.             And

 8     as we've discussed, Moore didn't change anything there.

 9                 So, then the last question that I think was raised

10     about whether these complaints meet the statutory definition

11     for potentially being a public disclosure is whether a

12     complaint that's not intervened and that comes out from under

13     seal, and is subsequently dismissed, is properly considered a

14     complaint in a civil hearing.       And so, on this argument --

15     and I don’t think, you know, even Ms. Burke pushes it

16     particularly hard in her brief, and appropriately so.             You

17     know, she acknowledges the Third Circuit precedent,

18     addressing the scope of what constitutes a hearing.              It's a

19     very deliberately broad definition, and has been held to

20     include anything on a public litigation docket, without

21     reservation.

22                 It is certainly true that the specific context of

23     whether an unsealed, non-intervened qui tam complaint that is

24     dismissed, that specific factual context is not encompassed

25     by these cases.     But I think the mere fact that we're looking
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 29 of 154
                                                                        29

1      at three cases from the 1990s shows you how subtle the law is

2      on this.    It's just never something that's had to be

3      litigated.

4                   And in fact, these cases are holding things like

5      discovery in a civil hearing, in a civil litigation that's

6      not subject to a protective order, so this isn't even

7      something on a public docket, is still a public disclosure

8      because it's something that's not barred from discovery from

9      the Court, and so it's something that's potentially

10     accessible.     So the concept of what constitutes a disclosure

11     within a hearing is very broad.

12                  The view is very much -- and this is the rationale,

13     one of the analogies, either in Stinson or in one of the

14     other two cases that the Court points to, in saying, look,

15     you know, even though arguments were made that this should be

16     more limited to a full evidentiary hearing or something more

17     cramped than just being on a -- being open and public on a

18     public docket, the Court says, you know, it just doesn't make

19     any sense to limit it that way, there's nothing in the

20     legislative history or concept of the statute to support that

21     after all.    If you can go to a public library and pull up

22     some random news article, and that can count as a public

23     disclosure, but we're now going to hold that you can't go to

24     a court and pull up a complaint on a public docket, and say

25     that, somehow, that is barred from serving as a public
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 30 of 154
                                                                          30

1      disclosure, it doesn't make any sense, and the statute

2      doesn't require it.

3                  And so the rationale behind, I think, these

4      decisions of open and broad interpretation of what a

5      "hearing" means here, and what the statute is trying to

6      achieve, is they support, you know, declining to go down the

7      road that Ms. Burke would like you to go down.

8                  I'd also like to point out that she doesn't --

9                  THE COURT:    I'm -- let me interrupt just for a

10     moment there.     So you are suggesting that, if a complaint was

11     filed and a motion to dismiss is filed, and a motion to

12     dismiss is granted, that that still would qualify as a

13     hearing for purposes of public disclosure?

14                 MS. MAYER:    Oh, yeah, absolutely.      It's just -- if

15     a complaint comes out a public docket, just the law is, in

16     the Third Circuit, if a complaint is on a public docket, it's

17     a disclosure.     And if it's in a litigation, it's a hearing.

18     And the reason why is, under the public disclosure bar,

19     there's -- we're -- this isn't a res judicata argument or

20     analogy.    What it's saying is that, if there's information

21     out in certain enumerated places in the public, then, if the

22     Government declines to intervene in the case, the relator can

23     only proceed with her action if the relator, in advance of

24     filing her action, disclosed information to the Government

25     that materially adds to those public disclosures, that she's
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 31 of 154
                                                                           31

1      an independent -- that she acquired independent of the public

2      disclosures.

3                  And so it's not trying to say -- so it doesn't

4      matter if those cases are ever served or dismissed or

5      litigated beyond litigation that happens while it's under

6      seal, of course.     They're public filings on a public docket,

7      and that constitutes a hearing.        And that's where the Third

8      Circuit drew the bar on what's a hearing.

9                  THE COURT:    Okay.

10                 MS. MAYER:    Okay.   And I don’t want to

11     overemphasize this.      But to the extent there's some sense

12     that -- you know, and I felt Ms. Burke was sort of pushing in

13     this direction, that -- in her brief, that, because these

14     cases come out from under seal, and sometimes they are

15     dismissed within a short period of time afterwards, that

16     that's such a short period of time while they're live, and

17     they may not be served, that that should somehow disqualify

18     them.

19                 I do want to point out that, under the False Claims

20     Act, every single one of those complaints was filed quite a

21     long time beforehand.      It could be six months, it could be a

22     year, it could be a couple of years beforehand.          Those

23     original complaints were served -- by statute, required to be

24     served on the United States.

25                 During the seal period, the United States is not
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 32 of 154
                                                                           32

1      inactive.    It's not as though Docket Entry Number 1 is the

2      complaint, and Docket Entry Number 2 is an order unsealing

3      it.   Typically, in these cases -- and again, the docket is

4      still sealed in your cases, sometimes they're out from under

5      seal, and I can see it -- the Government seeks extensions,

6      from time to time, of the seal.        They will file a motion,

7      they will file a memorandum in support of the motion, and the

8      Court will consider this and rule.        Occasionally, there are

9      other sort of court business that takes place during this

10     period.    This is litigation, albeit ex parte, and of a very

11     special kind.

12                 But again, nothing momentous comes from that, other

13     than just to say that, you know, the case coming out from

14     under seal is a midstream event.        And if it's dismissed

15     shortly thereafter, that's fine.        But it's not as though this

16     was -- and it shouldn't matter anyway that this was a two-day

17     case.    This was a case that's been in the court process as a

18     litigation matter for, sometimes, a very significant period

19     of time.    And it hasn't been completely ignored during that

20     time by the United States, by the relevant government

21     parties.

22                 So, again -- and critically, this definition of a

23     "hearing" that recognizes that, as long it's a complaint on a

24     public docket, it qualifies as a hearing -- as a disclosure

25     and a hearing, as long as it's federal government or agent,
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 33 of 154
                                                                        33

1      this has been settled law in the Third Circuit since the --

2      you know, for decades.      The amendment to the public

3      disclosure bar didn't alter the language of hearing, which

4      indicates, as a matter of statutory interpretation, that the

5      Court -- that Congress was not interested in changing the

6      settled meaning of that term.

7                  And so, again, just sort of taking all of this

8      together, there's just no reason to think that -- to

9      interpret "hearing" in some new and novel way, and I think

10     the Third Circuit precedent would preclude it.          And

11     furthermore, Ms. Burke hasn't provided in her brief any

12     principled basis, other than the argument that these appear

13     to be unimportant pieces of litigation, or litigation pieces

14     that didn't go very far.       She's really not pointing to

15     anything that would support that being relevant or

16     appropriate to point to, to, you know, run against otherwise

17     controlling Third Circuit precedent.

18                 THE COURT:    So then there would still be the

19     question of whether these were overlapping cases, correct?

20                 MS. MAYER:    Yes.   And that's the --

21                 THE COURT:    And then --

22                 MS. MAYER:    -- next piece.

23                 THE COURT:    -- also, the question of whether the

24     plaintiff has provided new and original information beyond

25     what was --
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 34 of 154
                                                                           34

 1                  MS. MAYER:   Correct.

 2                  THE COURT:   -- in those cases.

 3                  MS. MAYER:   Exactly right.     So what we've just

 4     done, maybe in more detail than Your Honor hoped to do this

 5     morning --

 6                  THE COURT:   No, no.

 7                  MS. MAYER:   -- but I think --

 8                  THE COURT:   Because I --

 9                  MS. MAYER:   -- it's important --

10                  THE COURT:   I believe jurisdictional rules should

11     be bright-line rules; and yet, they oftentimes seem to get

12     very not-so-bright-line, and this seems to be a perfect

13     example.

14                  MS. MAYER:   I think so.    And do want to, for a

15     point of clarification, clear up one thing.          It is -- the

16     pre-PPACA bar was clearly jurisdictional; the language was in

17     the statute.     There is debate among the Circuit Courts right

18     now about whether the post-PPACA bar is still jurisdictional

19     There are some circuits that have sort of weighed in and

20     found that it is not, and the Third is one of those in Moore.

21                 So, for the post-PPACA piece that is left, it is

22     not a -- it has been held not to be a jurisdictional bar.           It

23     is a basis for dismissal of the case.         It is still a

24     statutory prerequisite to suit that --

25                 THE COURT:    Right.
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 35 of 154
                                                                           35

1                   MS. MAYER:    -- that you -- if there is public

2      disclosure, that you are barred, unless you can show you're

3      an original source.       But I don’t want the Court to, you know,

4      miss -- to --

5                   THE COURT:    Now how does Article III standing fit

6      in with that?

7                   MS. MAYER:    I think they are separate questions.     I

8      think the Article III standard issue has been resolved by

 9     Stevens, to say that relators, as a general class, can pursue

10     these claims under Article III.        I thin the operation of the

11     public disclosure bar, from a jurisdictional perspective, the

12     old on, was that the statute said a Court shall not have

13     jurisdiction.     So it's a statutory denial of jurisdiction, so

14     it's based on a statute.

15                  And likewise, it's now a statutory, not

16     jurisdictional, but still a bar to suit if there is a

17     qualifying public disclosure that raises substantially the

18     same allegations.      If you're not an original source, which is

19     the exception that's been recognized, that's at issue here

20     today, the case is barred, you cannot proceed, it must be

21     dismissed.

22                  THE COURT:    Okay.

23                  MS. MAYER:    Okay.    So -- but I -- but -- so it's --

24     so -- there we go on that.         So, in terms of turning to the

25     question of whether a relator's allegations are substantially
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 36 of 154
                                                                            36

1      the same, unless Your Honor has any additional questions

2      about that first piece, about the statutory category.

3                   THE COURT:   No.

4                   MS. MAYER:   Okay.

5                   THE COURT:   Thanks.

6                   MS. MAYER:   In terms of whether a relator's

7      allegations are substantially the same as the prior public

8      disclosures, we're going to address it under two theories,

9      and we'll talk about the law.

10                  The first thing that I do want to say here is we

11     came forward with really specific evidence in our brief.          So,

12     first of all, the relevant comparison is you look at the

13     public disclosures as a whole, all of them.          It doesn't go

14     with sort of a -- they don't each have to quality -- each of

15     them doesn't have to raise substantially the same

16     allegations, just in total, they turn into a bucket of facts

17     and theories and fraud allegations.

18                  So, looking at that whole bucket collectively, you

19     then compare it against the theories that are alleged in her

20     complaint.    So, at this level, this piece of the analysis,

21     you're comparing public disclosure to the complaint, so not

22     depositions, not documents provided to the Government or

23     anything like that, you're just looking at the complaint.

24                  We, in our opening brief, went through, in some

25     detail, where we see the -- I'm going to start with the
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 37 of 154
                                                                         37

1      device check theory, the device check theory completely

2      alleged, collectively, through these complaints that we

3      pointed to.     And so, from a factual summary judgment matter,

4      we have kind of made our factual -- assuming, for the moment,

5      for argument, and I hope conclusively, that the Court agrees

6      that these complaints qualify as public disclosures under the

7      statute, the type of document that can be a public

8      disclosure.

9                  And you turn to the substantial similarity

10     analysis.    We laid out, in detail, how the complaints allege

11     the device check theory.       And the key there is it doesn't

12     have to match every single detail that's alleged.           For

13     example, you know, in her complaint, Ms. Forney alleged

14     certain patients in the eastern -- in Eastern Pennsylvania

15     received free device checks from Medtronic representatives as

16     a kickback to their doctor, and that their doctor submitted

17     Medicare claims as a result.

18                 Those specific patients, and Pennsylvania

19     generally, in terms of specific examples, is not in the

20     public disclosures.      It doesn't matter.     What matters is the

21     theory has been completely alleged, so that the Government is

22     on notice that there are whistle-blowers out there in this

23     case.    There's publicly disclosed information that has all of

24     the relevant -- sort of substantially the same relevant

25     allegations of fraud.
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 38 of 154
                                                                              38

1                   Medtronic, as a business matter, is providing free

2      device checks, routinely, across the country, to its

3      customers.    It's doing this, in order to induce them to

4      purchase Medtronic devices.       This violates the anti-kickback

5      statute; the actual fraud is alleged.         You know, here are

6      examples of where that is happening.         Under the law, under

7      Moore and Winkelman, we've cited cases for Your Honor to look

8      at.   If you look at what -- the analysis of what constitutes

9      "substantial similarity," that's enough.

10                  In the opposition brief, this was where relator, if

11     she thought there was particular allegations in her complaint

12     that were -- that characterized her theory, and that weren't

13     previewed by -- and weren't substantially the same as what

14     had been publicly disclosed, this was sort of her chance to

15     point us to those things.       And she says, in sort of passing,

16     she believes that there are meaningful differences, but she

17     doesn't point to anything.       And so we take -- you know, given

18     that it was -- you know, having made our showing, and we

19     believe it was her burden now to specific -- point to

20     specific evidence that would dispute it, we don't believe she

21     did that, and so we believe that is largely conceded.            She

22     may disagree.

23                  But I do want to emphasize for the Court that her

24     opposition brief was where, if this issue needed to be

25     joined, and if she believed that there were specific elements
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 39 of 154
                                                                              39

1      of her device check theory that were materially different

2      from the public disclosures that we have asserted, she needed

3      to put that in her opposition brief, and she didn't do it.

4                  What she did do is that she argued that, in

 5     particular, the Stokes complaint -- which we've pointed to,

 6     and I've talked a little bit about -- should not be

 7     considered as a public disclosure relating to the device

8      check theory because the legal theory in Stokes was different

9      than the legal theory she's pursuing in her complaint.           And

10     my response to that is really that I think it's just getting

11     the law wrong.

12                 And again, we go back to the law and the statute

13     and as it's articulated in Moore.        The public disclosure bar

14     doesn't require that the public disclosure allege the same

15     legal theory, in order for the disclosure -- to bar it.           If

16     that were the case, then things like reports and news media

17     would never qualify as a public disclosure, frankly, because

18     they often don't assert a legal theory.         What they do is they

19     allege facts.

20                 So, for example, you can have a bunch of facts

21     showing that -- Moore is a great example of this -- showing

22     that fishing vessels are not owned by Americans.           And then

23     you can have a different set of facts, and a different public

24     disclosure, or even in the same public disclosure, that says,

25     fishing vessels -- those same fishing vessels certify that
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 40 of 154
                                                                              40

1      they were owned by Americans in a different place.

2                   If you put the two together, those two public

3      disclosures together, what Moore says, what the statute says,

4      what everything says, is that those two transactions, X plus

5      Y, if they show a true state of affairs and a false state of

6      affairs, you can put them together and infer fraud from them,

7      and that that's sufficient, right?        So you don't need to

8      actually -- for something to qualify as a public disclosure,

9      it doesn't have to, itself, articulate a legal theory that is

10     the same legal theory that's articulated in the relator's

11     complaint because, otherwise, again, there would be no public

12     disclosures, based on a lot of news media sources and things

13     like that.

14                  So, what Stokes does is, as I started to preview,

15     Stokes is a complaint where the relator's theory of liability

16     was that Medtronic was using its field sales representatives,

17     who were programming devices and doing checks, to program

18     these devices to expire early, so that the device -- the

19     patient would have to come back in sooner than they otherwise

20     would, in order to get a surgery, so they'd need more devices

21     and generate more revenue, which is horrible.

22                  The -- but the key is, essential to this theory --

23     which is not a legal theory Ms. Forney is pursuing.              What is

24     essential to this theory is that the Medtronic field people

25     were out there, interacting with the patients, doing the
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 41 of 154
                                                                            41

1      checks, doing the programming because, if the doctors were

2      doing it, there would be no theory, right?          It's only if

3      Medtronic is doing the device checks and doing the

4      programming after implantation and the followup that you even

5      have the ability to implement this theory.

6                  THE COURT:    Well, wouldn't there be a theory

7      against the doctors?      If the doctors were doing the exact

8      same thing that Medtronic was alleged to have been doing,

9      wouldn't that have been generating false claims against the

10     United States?     Like I don't -- but trying to --

11                 MS. MAYER:    It might have.

12                 THE COURT:    Trying to tie Stokes with the facts of

13     this case --

14                 MS. MAYER:    Uh-huh.

15                 THE COURT:    -- is a little harder, when you try to

16     distinguish it between facts and legal theory.          Obviously,

17     the legal theory here is not at all the same.

18                 MS. MAYER:    Correct.

19                 THE COURT:    And -- but it happens to have, as facts

20     in it, the only way they're able to do this is because

21     they're giving these post-implant services.

22                 MS. MAYER:    Well, I think -- so, as a hypothetical,

23     you can certainly have a case where you plead -- your

24     defendants are doctors, and you plead that you work for a

25     manufacturer, and you have seen the doctors reprogramming
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 42 of 154
                                                                              42

1      these devices to cause earlier explants because, somehow

2      that, you know, enriches them and causes false claims.

 3     That's not the case that Stokes pled, though.

 4                 Here, what Stokes pled -- and I mean, I'll point

 5     you to a few specific paragraphs, so we can go over them --

 6     pled that it was Medtronic and other device manufacturers,

 7     who manufactured these types of devices, who were using their

 8     people to do this and to effectuate the scheme, and that it

 9     was done to enrich the manufacturers, who would directly

10     benefit by having these explants happen sooner because it --

11                 THE COURT:    And it would provide these services for

12     free, arguably for the doctors.

13                 MS. MAYER:    Yes.   And so, for example, we have --

14     sorry, I've just got to find the Stokes complaint.

15                 THE COURT:    Because I'm a little curious.          What if

16     you took Stokes out of your bucket, and you just had Burns

17     and Onwezen and Schroeder, et cetera?         If you didn't have

18     Stokes in your bucket, do you still have a public disclosure?

19                 MS. MAYER:    Yeah, we do.    I mean, it adds to it.       I

20     think it adds relevant detail because Stokes has all those

21     wonderful allegations, based on the MedPAR data, about the

22     different regions, where hospitals were performing a really

23     high level of explants.       And what that gives you a further

24     example of is regions and hospitals where you've got reps

25     operating to do all these free device checks and
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 43 of 154
                                                                           43

1      reprogrammings, to effectuate that scheme.          I mean, so it

2      just adds more color and detail to what's going on, and puts

3      the Government on notice of it.        But no, we don't think that

4      we need it.     We don't think that, without it, we lack fully

5      qualifying public disclosure that alleges substantially the

6      same allegations, and that material information that she, you

7      know, theoretically or potentially, might add would qualify

8      her as an original source.

9                  But I think it's important that these allegations

10     in Stokes, even if they're not the focus of the case, they

11     are facts that do corroborate, and that do provide additional

12     detail.    I think, in and of themselves, they're not as

13     clearly identical to or substantially the same as her theory

14     as the stuff in Onwezen and Burns, in particular, for

15     example; or, on the consulting theory, Schroeder.

16                 THE COURT:    Well, this -- the Stokes theory is -- I

17     would think even the plaintiff would concede, is a much more

18     powerful theory of Government fraud, the idea that you would

19     deliberately try to make a device not last as long as it

20     should last, just so you have to create more devices and

21     generate more money for the manufacturer, paid for by the

22     Government.     That's a powerful argument, certainly more so

23     than the argument that you are providing these free services,

24     and that's a kickback, and therefore, it's a violation of the

25     anti-kickback statute; and, thus, the -- what's being
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 44 of 154
                                                                           44

 1     submitted to the Government, where you certify you're not

 2     violating the anti-kickback statute, is not accurate.

 3                 MS. MAYER:    And just for the record, the case was

 4     not intervened, and it was dismissed.         It didn't -- there was

 5     no settlement where Medtronic admitted any -- I mean, it was

 6     not substantiated.      This is a complaint, of course --

 7                 THE COURT:    Right.

 8                 MS. MAYER:    -- disclosing allegations, and not a

 9     finding, so -- but the allegations of the fraud.           We believe

10     the facts in here line up with and do -- and can be added to

11     the bucket of the collective disclosure, for purposes of

12     evaluating what the public disclosure was in this case, and

13     whether it's substantially the same.

14                 The other complaint that -- and again, just to sort

15     of focus the Court for a second on what I mean by -- well, I

16     think we've covered Stokes.        So, when it comes to -- the

17     second complaint that the relator takes issue with is the

18     Schroeder complaint.      And -- and again, so just to wrap up

19     the device check theory.

20                 So we really have -- I mean, you know, Burns'

21     entire complaint is that free device checks were performed in

22     order to enrich doctors; that reps, you know, got doctors --

23     the doctors were billing for services Medtronic performed,

24     that this is a kickback, here's a list of doctors who did it,

25     here's claim -- here's superbills and claim forms for it.
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 45 of 154
                                                                           45

1      Like it -- this is the case -- this is the device check

2      theory in another case that was completely publicly

3      disclosed.

4                   THE COURT:   Is the theory that the doctors -- I

5      understood the theory originally to be that the doctors were

6      getting kickbacks --

7                   MS. MAYER:   Uh-huh.

8                   THE COURT:   -- that, instead of using their own

9      people, Medtronic provided free people --

10                  MS. MAYER:   Yep.

11                  THE COURT:   -- for these device checks.       But I

12     didn't believe the theory was that the doctors then submitted

13     a bill for that to the Government.

14                  MS. MAYER:   That's correct.     The submission of the

15     bill to the Government piece of it --

16                  THE COURT:   Had the --

17                  MS. MAYER:   -- was not --

18                  THE COURT:   -- anti-kickback --

19                  MS. MAYER:   -- is not in --

20                  THE COURT:   -- provision --

21                  MS. MAYER:   -- Forney's complaint, yeah.

22                  THE COURT:   Right.    So I was never under the

23     impression that this complaint had anything to do with

24     doctors then -- okay.      Suppose a device check is -- costs

25     $100, Medtronic does it for free.        The doctor puts it into
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 46 of 154
                                                                          46

1      his bill and sends it up to Medicare.

2                  MS. MAYER:    Right.   Yeah.

3                  THE COURT:    I don’t think that's this theory,

4      right?    The theory is just that, in submitting the bill, you

5      have to certify you're not violating the anti-kickback

6      provision or statute.      You -- this is a kickback -- which,

7      obviously, you disagree with -- and therefore, you are --

8      that certification is untrue, so it's a false claim to the

9      United States.

10                 MS. MAYER:    I a hundred percent agree that the

11     theory pled in Ms. Forney's complaint and the theory -- her

12     theory had nothing to do with doctors billing for services

13     Medtronic provided.      That was not alleged.      Her theory was --

14     the first peak switches [sic] -- that, simply by providing

15     the service, you're replacing someone at the medical

16     practice, and therefore, saving the doctor that money, and

17     that's a kickback.      And then, if claims result from that,

18     those claims are false under the 2010 amended version of the

19     anti-kickback statute --

20                 THE COURT:    Right.

21                 MS. MAYER:    -- which (indiscernible) in that way in

22     the False Claims Act.

23                 THE COURT:    And so, if they're not a kickback, as a

24     matter of law, or factually, if they're not a kickback, the

25     whole case goes away.
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 47 of 154
                                                                          47

1                  MS. MAYER:    Yes.   Yeah.   The -- yes.

2                  THE COURT:    As we went over with the motion to

3      dismiss.

4                  MS. MAYER:    As we went over with the motion to

5      dismiss.

6                  In terms of, you know, the device check theory --

 7     and then you've got Onwezen, the Onwezen complaint, which

 8     alleges that, you know, device checks were done day in and

 9     day out, at high volume; that they were done for free; that

10     they were done to induce people to use Medtronic devices.

11     The entire theory, we've gone through it, and I can go

12     through it more detail, if it would be helpful for the Court.

13     But we lay out the relevant paragraphs in our statement of

14     facts and our brief in some detail here.

15                 And again, Ms. Burke hasn't challenged that she has

16     anything in her complaint that is not substantially similar

17     on the device check point to have identified any of these

18     public disclosures, other than taking issue with the Stokes

19     complaint for the device check theory that we discussed.

20                 THE COURT:    What the plaintiff does do is focuses

21     on this idea that her client did not know any of this, and

22     she's an original source of, arguably, new information.

23                 MS. MAYER:    Right.   So the original source is the

24     next piece, but first, we need to get through the

25     substantially similar.      So all I want to say is, for --
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 48 of 154
                                                                              48

1      there's sort of a -- in order to say that the public

2      disclosure bar apples to your case, you have to have a type

3      of disclosure that fits within the definition of the statute,

4      and what is disclosed needs to be substantially similar to

5      what has been alleged in the complaint, and that's an

6      assessment that has to happen under the statute.           And if it

7      does, the public disclosure bar bars the suit, full stop.

8      The next step is, if the relator believes she's an original

9      source, that's an exception that's recognized under the

10     statute, and she can come forward and argue she's an original

11     source, which, of course, she's doing that.          And we

12     absolutely need to address it.

13                 And there is a piece -- so the original source --

14     there's a couple of prongs to the original source exception,

15     one of which, you know, the relator is not asserting applies

16     here, and we agree.      The one she's going under, if -- and it

17     does sound similar to the substantial similarity analysis,

18     but it's not the same.      But it also a comparison -- a

19     comparative analysis, and that is one which we're going to

20     get to.    But that's the issue of whether she is an

21     independent source of information that materially adds to the

22     public disclosure, that collective disclosure, that she

23     provided to the Government, in advance of filing the action.

24     So it's information provided to the Government, in advance of

25     filing the action, that materially adds to the public
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 49 of 154
                                                                          49

1      disclosure, and she's an independent source of it.

2                  And on the independent point, Ms. Forney, as I -- I

3      mean, so, actually, I don’t want to confuse things right now.

4      We'll get -- I want to -- and I think we're almost done with

5      the substantial similarity.

6                  THE COURT:    Sure.

7                  MS. MAYER:    But I want to just sort of close out

8      that piece of it because that's really the piece where, you

9      know, we need to come forward with the public disclosures

10     and, you know, show that they are substantially similar to

11     those allegations in her complaint.        And then, once we finish

12     that, again, from our perspective, we can stop.          We, of

13     course, expect, and we know she has argued that, A, that

14     doesn't work, but to the extent it works, she wants to put

15     herself forward as an original source.         And so we're going to

16     talk through our views of why she doesn't qualify as an

17     original source, should -- as well.

18                 So, in terms of the substantial similarity, we've

19     covered the device checks.        And again, I don’t think it's

20     really contested that the public disclosure, other than, you

21     know, what we've discussed about Stokes, where I really do

22     think there is nothing in the law that says that the facts in

23     Stokes that do overlap with her case can get thrown in the

24     pot for public disclosure.        Although, obviously, there are

25     facts in Stokes and legal theory that do not overlap, and
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 50 of 154
                                                                           50

1      then those don't come in.       And so, again, I think it would

 2     improper to exclude the parts of Stokes that do overlap, but

 3     --

 4                 THE COURT:    But you're satisfied --

 5                 MS. MAYER:    And we talk --

 6                 THE COURT:    -- in this collective bucket --

 7                 MS. MAYER:    Uh-huh.

 8                 THE COURT:    -- there is the Government being put on

 9     notice that Medtronic is providing free services, with

10     respect to these implants, that, if they weren't providing,

11     the doctors would have to provide on their own, and thus,

12     they are providing a financial benefit to the doctors?           That

13     would qualify as a kickback?

14                 MS. MAYER:    What -- but what I -- what we're

15     talking about is not what -- whether the theory -- and it

16     doesn't matter, actually, whether the theory is a legally

17     viable theory for this inquiry.        You know, in Moore, for

18     example, the Third Circuit goes to great pains to say, we're

19     not ruling on the 12(b)(6) issue because the defendant had

20     got the case dismissed on public disclosure bar grounds.          In

21     that case, it was litigated at the motion to dismiss stage

22     and had a separate 12(b)(6) argument that the relator's

23     theory didn't pass muster as a legal matter.

24                 The analysis of whether the public disclosure

25     applies doesn't evaluate the validity of a legal theory.          It
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 51 of 154
                                                                          51

1      just says, was it disclosed --

2                  THE COURT:    But --

3                  MS. MAYER:    -- and is that disclosure --

4                  THE COURT:    But was --

5                  MS. MAYER:    -- substantially similar.

6                  THE COURT:    Was the legal theory disclosed to the

7      Government, or just the facts disclosed to the Government?

8                  MS. MAYER:    Inn Stokes, it was facts.      In the rest

9      of the complaints, it was the theory --

10                 THE COURT:    The legal theory.

11                 MS. MAYER:    -- and the facts.

12                 THE COURT:    So you --

13                 MS. MAYER:    It was the whole --

14                 THE COURT:    -- believe that --

15                 MS. MAYER:    -- kit and caboodle.

16                 THE COURT:    -- legal theory; that is, the same

17     legal theory being brought by the plaintiff here, was in

18     those -- in that bucket?

19                 MS. MAYER:    Yeah.

20                 THE COURT:    Okay.

21                 MS. MAYER:    Absolutely.    The ...

22           (Pause in proceedings)

23                 MS. MAYER:    You know, for example, we've got -- I

24     mean, we've got -- I would point the Court to Pages 7 through

25     the top of 9 of our opening brief for arguments that the
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 52 of 154
                                                                             52

1      device check theory allegations are substantially the same as

2      the prior public disclosures.

3              (Court and court personnel confer)

4                   THE COURT:   Counsel, do you mind if they bring new

5      chairs in while we're doing this argument?          If they make too

6      much noise, we'll take a short recess.         But apparently, if we

7      don't let them bring them in, we're going to lose them.

8                   MS. MAYER:   It's fine with me.     It's up to Susan.

9                   MS. BURKE:   It's fine with me, Your Honor.

10                  THE COURT:   And you'll get to see the new chairs,

11     which should match the newly upholstered jury chairs, which

12     we used --

13                  MS. MAYER:   Right.

14                  THE COURT:   -- for the first time over the past

15     week.

16                  MS. MAYER:   Right.

17                  THE COURT:   Excuse that interruption, Counselor.

18                  MS. MAYER:   Sure.

19                  THE COURT:   You may proceed.

20                  MS. MAYER:   So I'll point you to those parts of the

21     opening brief, and then we address it again in our statement

22     of facts and our reply, I think we go through it in detail.

23                  I think the key is that the -- these folks, they

24     alleged devices are provided for free.         That is remuneration

25     under the anti-kickback statute, full stop.          That's the key
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 53 of 154
                                                                               53

1      theory here, and that's been previewed in the complaints.

2                  THE COURT:    Well, the one thing I -- all right.           I

3      look in the newspaper, and I see that Medtronic is doing

4      something they shouldn't be doing.        So I go out and I file a

5      False Claims Act claim against them because I want to make

6      money off of what I just discovered in the newspaper.            That

7      would barred by the public disclosure bar, correct?

8                  MS. MAYER:    So the Government could take that

9      information and proceed on its own.        But if you -- if your

10     only source of that information was the public disclosure,

11     yes, you would be barred.

12                 THE COURT:    Because, otherwise, anybody reading the

13     newspaper who learns about this can file suit.

14                 MS. MAYER:    Yes.

15                 THE COURT:    And you're really not providing the

16     Government with anything that's not available publicly

17     because it was in the newspaper.

18                 MS. MAYER:    Yes.

19                 THE COURT:    Now, with complaints, we have it a

20     little different.      If you're talking about someone who's

21     filed a complaint in Federal Court that alleges something,

22     that is public, in theory, and once it's unsealed, it's

23     public.    The information has been provided to the Government.

24     So, once one person has filed on a particular legal theory

25     and a particular set of facts, nobody else -- the public
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 54 of 154
                                                                        54

1      disclosure bar would bar anybody else from filing, unless

2      they were an original source, adding additional facts or

3      additional information to the Government?

4                  MS. MAYER:    Yeah, because the Government -- I mean,

5      the purpose of the False Claims Act is to get -- is to

6      motivate people to get information about fraud to the

7      Government promptly.

8                  THE COURT:    Right.

9                  MS. MAYER:    And so that person, the person who's

10     first in the door with the theory and the complaint, gets to

11     the Government.     The Government has --

12                 THE COURT:    Right.

13                 MS. MAYER:    -- that sort of first crack at it.

14                 THE COURT:    So, if ten people file, on ten separate

15     days, it's the first in the door.

16                 MS. MAYER:    Well, and there's a separate

17     jurisdictional bar called the "first-to-file rule," as well,

18     which can come into play.       But what I want to emphasize,

19     though, is, if ten people file the same theory on ten

20     successive days --

21                 THE COURT:    Right.

22                 MS. MAYER:    -- the second through tenth will not

23     have a -- they may have a -- they'll have a first-to-file

24     issue, maybe, but they won't have a public disclosure bar

25     issue if the statute operates the way it normally does --
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 55 of 154
                                                                             55

1                  THE COURT:    Because it --

2                  MS. MAYER:    -- because that --

3                  THE COURT:    -- would have --

4                  MS. MAYER:    -- first complaint --

5                  THE COURT:    -- been unsealed.

6                  MS. MAYER:    -- is still under seal --

7                  THE COURT:    Right.

8                  MS. MAYER:    -- when the second and the third and

9      the fourth and the fifth are filed.        The public disclosure

10     bar comes into play when that first complaint comes out from

11     under seal and is now a public disclosure, right?           And the

12     relator -- if the relator then -- even if the relator didn't

13     see that complaint, but if another person wants to come

14     forward with the same theory and present it to the

15     Government, what the statute says -- and this is the balance

16     Congress has chosen to strike -- is to say, if your

17     information is independent of that disclosure, so you didn't

18     just read that complaint and then rush to the courthouse, you

19     can proceed, but only if you're bringing something more to

20     the Government that is independent of and materially adds to

21     the public disclosure.      Okay?

22                 So the idea is they want to create some ability for

23     the Government not to have to look at the same theory over

24     and over and over and over again, and for defendants to have

25     to just defend the same conduct over and over and over again,
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 56 of 154
                                                                             56

1      and to put a limit on how many times you can kind of bring a

2      second and successive theory.

3                  THE COURT:    And so, if the Government decides not

4      to intervene in the subsequent case --

5                  MS. MAYER:    Uh-huh.

6                  THE COURT:    -- in our case, and your argument is

7      that the other case is the bucket, et cetera, the Government

8      decides not to intervene, Medtronic claims public disclosure

9      bar, who is to decide whether the relator has brought new and

10     additional information to the Government, if the Government

11     is not taking a position on that?

12                 MS. MAYER:    Well, you will.

13                 THE COURT:    I know.

14                 MS. MAYER:    So the law --

15                 THE COURT:    It was a --

16                 MS. MAYER:    There is --

17                 THE COURT:    -- rhetorical question.      But how do I

18     now that the Government hasn't gotten additional information

19     from this relator?

20                 MS. MAYER:    So the key is, the question is, and the

21     statute is set up to allow -- the enable the Court to do it.

22     I think -- well, so the way the provision -- the original

23     source provision works is it's the relevant comparison, under

24     the post-PPACA bar, is that you compare the information that

25     the relator brought to the Government in advance of filing
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 57 of 154
                                                                           57

1      suit, and you compare it to the body of public disclosures.

2      And so you're not comparing it to what the Government has in

3      its head; you're comparing it to the body of public

4      disclosures.     Does that make sense?

5                  THE COURT:    Yes.

6                  MS. MAYER:    Okay.

7                  THE COURT:    It does.

8                  MS. MAYER:    So it's something that's actually

9      achievable, as opposed to requiring psychic powers --

10                 THE COURT:    Right.

11                 MS. MAYER:    -- that none of us have.

12                 I think -- but -- and there, it's -- and there is

13     some guidance.     But I think it is important to note that,

14     when you are making that evaluation -- well, okay.           So let's

15     just wrap up substantially the same because this is a little

16     bit of a technical doctrine, and I want to make sure we keep

17     the buckets in the right place.

18                 We've talked about device checks.        With respect to

19     the consulting theory, we pointed to allegations in the

20     various public disclosures, in detail, in our case, including

21     in the Schroeder case, that disclose substantially the same

22     theory that relator is pressing here.         And relator is --

23     again, doesn't really dispute that, except to argue that the

24     Schroeder case is only litigating two theories, not, again,

25     the theory of liability that she's asserting under these
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 58 of 154
                                                                         58

 1     consulting agreements.      So, again, she's making that same

 2     argument that the legal theory has to match, and it doesn't.

 3     There is no legal support for the proposition that the legal

 4     theory has to match.

 5                 In Schroeder, Schroeder actually alleges a category

 6     of kickback which is providing practice management and

 7     consulting reimbursement advice as a category of kickback,

 8     and has allegations about it in the complaint; and then, in

 9     the counts of the complaint, alleges that, and incorporating

10     by reference all the prior pleadings, there are violations of

11     the Anti-Kickback Act.      So we actually think Schroeder does

12     plead the theory, too, and that we think that the relator

13     simply misstates -- misstated the complaint in her opposition

14     brief, when she characterized it as only asserting an off-

15     label promotion theory and a theory of kickbacks related to

16     cash for clinical trials and other things.

17                 THE COURT:    So, if there are issues of material

18     fact as to what she provided to the Government that would

19     preclude summary judgment, does that mean this is a defense

20     that you raise with the jury?

21                 MS. MAYER:    So I don’t think there -- well, I think

22     -- so, in this case, there are no disputes of material fact

23     about what she provided to -- or let me take a step back.

24                 I think there is a record here where this issue is

25     fully resolvable by the Court, without it going to a jury, in
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 59 of 154
                                                                         59

1      this case.

2                   THE COURT:   So you don't believe there are any

3      contested facts.     It's just whether the facts fall within the

4      public disclosure bar.

5                   MS. MAYER:   The -- so, turning to that because

6      you're asking a specific question, I do think turning to the

7      question of an original source, I think the first thing you

8      have to look at is -- so assume we've gotten through

9      substantial similarity, and so we've shown qualifying public

10     disclosures, raising substantially similar -- and they really

11     -- they don 't have to be the same, they just have to be

12     substantially similar, under the law -- the theories, as to

13     what she's pursuing here, collectively taken as a bucket.

14                  Then you move to the relator is arguing she is an

15     original source.     And she's going to qualify it by saying

16     she's -- her information, that she provided to the Government

17     in advance of filing of the case, is something that she was

18     an independent source of, it didn't come from her looking at

19     those complaints.      She has a statement in her declaration

20     that she never saw the complaints before she saw our summary

21     judgment.    We're not contesting that.       So she's independent,

22     whatever the information she provided to the Government is

23     independent.     I want to be clear on that.

24                  What we're talking about now is what -- the first

25     question is:     What information did she provide to the
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 60 of 154
                                                                              60

1      Government in advance of filing -- in advance of filing the

2      action and commencing the action?        That's what the statute

3      says we need to look at.       And so the first step here is:

4      Well, what is that?

5                  And I think it's a good place to start, and it's an

6      important place to start because there is only one category

7      of information that is -- has even been proffered by relator

8      that meets that definition, and that is the stack of

9      documents that she gave to the Court and identified for us,

10     for the first time, in her opposition brief ten days ago.              So

11     that is the information that she contends she provided to the

12     Government in advance of the disclosure.

13                 And I say "contends," and I mean -- I don't want to

14     pick an unnecessary fight.       But I think it is important that

15     we start with also noting that her evidence that this set of

16     documents was provided to the Government in advance of filing

17     suit is based entirely on declaration by Ms. Forney that her

18     lawyer told her that this is the set of documents, and the

19     lawyer told her that these documents were provided to the

20     Government in June of 2015, which would be in advance of

21     filing the action; and that, under the rules of evidence,

22     which do apply in this proceeding here, that is hearsay and

23     inadmissible.

24                 There is no exception that my lawyer --

25     communication from a lawyer as a hearsay exception.              There is
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 61 of 154
                                                                         61

1      a catchall hearsay permission that a Court can invoke, if

2      they believe the information is reliable enough to do it.

3      But that's something that should be rarely invoked, and it's

4      certainly not something that should be routinely invoked for

5      statements from counsel to client.

6                  I also want to -- and so I believe, as a first

7      step, that the Court -- that there is no admissible evidence

8      of a disclosure of information to the Government, in advance

9      of filing suit, because the only evidence that such a

10     disclosure was made is based on hearsay declaration by --

11     hearsay statements in the declaration by the relator.

12                 We, obviously, tried to deal a little bit with the

13     merits of the documents in our brief, and we're, obviously,

14     prepared to address it.       But I would be remiss if I didn't

15     point to it.     We did object to those statements in her

16     declaration in our responsive statement of facts, preserving

17     this evidentiary issue.

18                 The second thing I wanted to point to is that, when

19     we're talking about the documents and what they are whether

20     they're here, I think -- and as we proceed into this part of

21     the hearing because -- you know, I'm open to what's going to

22     be most useful to the Court, in terms of how to proceed.

23     There are a couple of very unusual things about the way this

24     is being teed up for the Court in this case, that I think all

25     can be dealt with.
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 62 of 154
                                                                            62

1                  First, the relator herself does not emphasize or

2      really take any time arguing that these documents support her

3      case for being an original source.        They are mentioned only

4      on the last page of her brief, in a single sentence, where

5      she says, in conclusory fashion, that these documents contain

6      information that materially add to the public disclosures.

7                  She points to the statement of facts in support of

8      that, but the statement of fact provisions that she points to

9      aren't statements of fact that identify anything in those

10     documents that she believes materially adds to the public

11     disclosures.     They're pointing to the pieces of her statement

12     of facts that go through the history of Medtronic's repeated

13     efforts to get her to disclose her communication to the

14     Government, and what documents she provided and her -- you

15     know, just sort of the history of how the record on that

16     evolved, which we can talk about in just a moment.

17                 The second thing that I want to point to, so, in

18     her opposition brief, where she had every opportunity to -- I

19     mean, even put aside the hearsay issue with this evidence.

20     She had every opportunity -- these are her documents -- to go

21     through and point the Court to where in these documents there

22     are new, material details, that she believes materially add

23     to the public disclosures.       And we believe it was her

24     obligation to do that, under the Court's standing order,

25     under the local -- under civil rules.         This is what you do.
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 63 of 154
                                                                                63

1      You don't just sort of give 900 pages to the Court and to the

2      defendant and say, as a general matter, I think there is

3      information in here that materially adds to your public

4      disclosures, you should have put me on notice of your

5      arguments in advance, which is what she says in her brief.

6      So I don't, essentially, have to do anything in response.

7                  I think that, you know, independently, just in

8      terms of just failing to highlight for us, it -- you know,

9      it's going to be challenging, although we're -- we'll do it,

10     if it will be helpful to the Court, to go through these

11     documents and respond on the fly, in a meaningful and

12     effective way, to why we believe whatever she might point to

13     -- and I don’t know what that is -- is something that's

14     materially new and different.

15                 There are a couple of other issues here, and I just

16     -- I don’t want to belabor it, but I do want to mention

17     because it's in our statement of facts, the history              here.

18     We did ask, in our request for production of documents, for

19     communications with the Government, that the relator had with

20     the Government.     We were told no.     Ms. Burke has said -- and

21     I believe her -- that she produced to us, in her productions

22     to us, the actual documents that were produced to the

23     Government.     And we certainly have had the documents and

24     others that have the Bates numbers in the set that was

25     provided to the Court.
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 64 of 154
                                                                         64

1                  What was never provided to us was the non-

2      privileged portion of any communication to the Government.

3      And by "non-privileged portion," what I mean is, if I ask, in

4      a request for production of documents, for your

5      communications with the Government, and you believe, for

6      example, that you transmitted documents with a cover letter,

7      and that the content of the cover letter is privileged, what

8      I believe the appropriate thing to do is -- because they're

9      not contending the documents are privileged -- is to produce

10     that communication, minus -- as a set, these are the

11     documents -- with an indication that a privileged letter was

12     withheld, based on privileged, and then, you know, a

13     privilege log that says, here's the date of that

14     communication; or you redact the letter, if only portions of

15     it are privileged, and you produce it.         The key is I was

16     entitled to get that, what was communicated to the

17     Government, that set of documents, as a set of documents,

18     identified as communications with the Government, because I

19     asked for it.     I was told, no, we're not going to do it, you

20     know, it's, again, privileged.

21                 So then I asked an interrogatory, to identify

22     communications to -- with the Government, who had them, when

23     they occurred, and what the substance of the communications

24     were.    Again, a great opportunity to say a chunk of this is -

25     - communications with third parties, which includes the
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 65 of 154
                                                                             65

1      Government.     I was looking for other third parties, as well.

2      Lots of objections, including privilege, including there's

3      easier ways to get the information.

4                  For purposes of this disclosure of documents, it

5      would have been very easy to stand on all privileges, but

6      also say, documents with the following Bates numbers were

7      produced to the Government, you know, on September or June or

8      July or August X, whatever.       We didn't get that information.

9                  We deposed Ms. Forney, and her deposition is

10     attached here, and the relator's counsel cites the relevant

11     portions of the depositions.       And I asked her, you know, when

12     were disclosures made to the Government.         And she initially

13     said a date in 2016, and then corrected herself and said, you

14     know, I believe it was June of 2015.         Why do you believe it

15     was June of 2015; I recall my counsel telling me, at that

16     time, that she was disclosing documents to the Government."

17     So that's the date.      And that statement, in sum, is what Ms.

18     Forney is relying on now, to establish the date that the

19     disclosure was made, my counsel told me, I recall, in June,

20     that it happened.

21                 In terms of what was disclosed, I asked Ms. Forney

22     what documents were disclosed to the Government.           I showed

23     her a couple individual documents.        I mean, the -- Your Honor

24     can see, I mean, you have a stack of 875 pages.          By my count,

25     it's about 50 discrete documents, and it's not the complete
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 66 of 154
                                                                              66

1      set of what was produced to us by Ms. Forney.          There are

2      others.

3                   You know, I asked her about a couple of discrete

4      documents, and she was able to say, yes, I believe this was

5      produced to the Government.       But there was another document I

6      showed her, and she said, I don't recall, I don’t know.            I

7      asked her, well, were the documents that you disclosed in the

8      complaint what you produced to the Government; yes, there are

9      10 or 12 documents, that sounds right.         Later, she said, you

10     know, I've given it some thought, and I don’t want to commit

11     to 10 or 12.     I'm paraphrasing her, but her quotes are in the

12     testimony, it could have been 1, it could have been 5, I'm

13     not familiar with how the production was formatted, I don’t

14     know whether it went as 1 document or 5 documents or 10

15     documents or 12 documents.

16                  What kind of documents, you know what documents did

17     you produce?     And she gave me a list of, well, there were

18     some HR documents and some training documents and some HIPAA

19     violation documents, some promotional material, reimbursement

20     consulting.     And the list is -- again, it's in the relator's

21     statement of facts, but it's a generalized description of

22     documents.

23                  And so we left the deposition with a witness who

24     could not tell me the set of what was produced to the

25     Government.     To the extent she could tell me, she had
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 67 of 154
                                                                                 67

1      endorsed the view that it was 10 or 12 or maybe 1 or maybe 5

2      documents, but I don't really know what the document

3      boundaries are, that sounds -- that all was her best effort

4      to tell me.     And she gave me a general description of kinds

5      of documents that was very consistent with it being a set of

6      somewhere in the range of 10 or 12 or 15 or 20 or whatever.

7      She wasn't saying it could be 50.        And so she clearly didn't

8      have personal knowledge of the contents of the set of

9      documents, sitting there that day, at the front of her mind

10     and memory.

11                 So I think what I -- as we turn to this analysis of

12     whether relator has provided admissible evidence of a

13     disclosure to the Government in advance of litigation that we

14     should analyze, to evaluate whether it materially adds to the

15     public disclosures, you know, I think it's important just to

16     have this context in front of the Court, where we worked very

17     hard during discovery to find out what this disclosure was,

18     so that we could, ourselves, assess it, so we would have had

19     the opportunity to ask her at deposition about particular

20     documents, and if we had questions about it.

21                 And critically, you know, put that aside, I think,

22     for purposes of evaluating the public disclosure bar, to just

23     know what was disclosed in advance of the litigation, and we

24     didn't get that information until the Court got it.              It was

25     contemporaneous.     We got Exhibit 17, which identified, for
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 68 of 154
                                                                            68

1      the first time for us, in a declaration, these Bates numbers.

2      It corrects her deposition testimony, to some extent.            And to

3      the extent it contradicts it, I think it would be improper.

4      I think there's an open question whether it supplements it,

5      versus contradicts it.      And I -- you know, I don’t want to

6      get bogged down in evidence issues.

7                  But then Ms. Burke had an opportunity in her

8      opposition brief, given this history, to sort of move this

9      ball forward in a meaningful way, and tell the Court and tell

10     us, in her brief, what it is that she believes, in those

11     documents, materially -- if anything, materially adds to the

12     public disclosure because the complaint is irrelevant at this

13     point.    It was not part of that set of documents, and so it's

14     not something that was provided to the Government in advance

15     of commencing the action.

16                 Testimony, declaration statements about what a

17     wonderful employee Ms. Forney was, about -- the rest of her

18     deposition, irrelevant.       We are looking only at the

19     information that they contend they disclosed to the

20     Government in advance of the litigation.         And it's, at best,

21     that set of documents that was produced to the Court, and

22     that's captured by the Bates ranges at Exhibit 17.

23                 And so, when we're figuring out, you know, what to

24     do with this, Ms. Burke had an opportunity to specify for the

25     Court and for us, and I think the rules require her to
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 69 of 154
                                                                           69

1      specify for us what that is, and she didn't do it.           I'm sure

2      she's fully prepared today to do it.         But the problem is it's

3      not just an abstract problem.       We are going to have to try to

4      go -- this is a very fact-handy, a very fact-intensive

5      analysis, if the Court rules that this information is

6      admissible, and it can be considered at this stage of the

7      case, and for purposes of the summary judgment hearing.

8                  Again, you know, I think there -- you know, some of

9      it is easy to dispose it.       You know, there are -- as we've

10     described in our reply brief, there's a company of the

11     AdvaMed Code.     The AdvaMed Code is cited in the -- you know,

12     is attached, actually, to the Burns.

13                 There are, you know, statements of Medtronic

14     corporate compliance policies that are, again, largely

15     irrelevant, and they don't advance the ball on any fraud

16     allegations in this case.       They just show that Medtronic had

17     a compliance program.      It doesn't -- you know, to the extent

18     that that's not previewed in the prior public disclosures,

19     that certainly doesn't add anything that's, you know,

20     significant and essential to the fraud in this case.

21                 There are examples of promotional materials for

22     consulting services that, on their face, don't say anything

23     about providing for free.       And there's no context around

24     these documents.     There are some consulting materials that do

25     say they're provided for a fee.        There are long -- there's a
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 70 of 154
                                                                        70

1      number of composite documents that are printouts of what Ms.

2      Forney has said at deposition were printouts of a Google

3      calendar, these are the HIPAA violations she averted to; and

4      that one of which was, ultimately, the source for the

5      allegations about particular patient device checks in the

6      complaint.    And we've addressed that, and we can talk more

7      about that as we need to do so.

8                   But I think the key is, you know, we looked through

9      these documents, and we don't see anything in them ourselves

10     that even arguably supports the fraud, let alone materially

11     adds to it, under the demanding, high-bar materiality

12     standard that the Supreme Court has said applies in the False

13     Claims Act context, and that is harmonized with the approach

14     the Moore case took, the Third Circuit took in Moore

15                  But I'm -- I really -- before we try to do whatever

16     we're going to do in this regard, I really think it's

17     critical to just set the context here, and say that, you

18     know, we're going to be kind of, you know, doing this on the

19     fly because we've been put on absolute -- despite trying, you

20     know, our best efforts, we've been put on absolutely no

21     notice of what Ms. Burke may or may not contend is material

22     here.    And I think that, in and of itself, along with the,

23     you know, admissibility issues and all that, raise sufficient

24     questions that the Court could certainly, in its discretion

25     choose to disregard that stack of documents.
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 71 of 154
                                                                             71

1                  THE COURT:    And do you think it would be

2      appropriate to shift the argument over to --

3                  MS. MAYER:    I think so.

4                  THE COURT:    -- Attorney Burke?      Why don't we take a

5      ten-minute recess because I do want to check on these chairs,

6      and you have been arguing for an hour and a half?           So why

7      don't we take a ten-minute recess, then we'll start up with

8      Attorney Burke.     You will explain why you believe these

9      documents provide additional information to the Government,

10     and that they were provided to the Government.

11                 THE COURT OFFICER:       All rise.

12           (Recess taken at 11:24 a.m.)

13           (Proceedings resume at 11:41 a.m.)

14           (Call to order of the Court)

15                 THE COURT:    This is still the old chairs, I think.

16                 UNIDENTIFIED:     Yes.

17                 THE COURT:    You can be seated, thank you.

18                 MS. BURKE:    Your Honor, they appear to be in the

19     hallway outside.

20                 THE COURT:    Okay.   Well, they might make some

21     disruption, but hopefully, not too much.

22                 The Court is called to order.        All parties

23     previously present are once again present.          Attorney Burke?

24                 MS. BURKE:    Thank you, Your Honor.

25                 Let me begin by explaining that I'm going to cover
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 72 of 154
                                                                           72

 1     this in two parts.      The first, and most important, is whether

 2     or not the Government or its agent is a party in the lawsuits

 3     that Medtronic has proffered as the public disclosures.           It's

 4     the relator's position that, neither the Government, nor its

 5     agent is a party in any of those lawsuits, and we'll walk

 6     through -- we'll walk Your Honor through that.

 7                 We will then turn to the analysis that is called

 8     for by Moore for the original source, and walk Your Honor

 9     through the fact that Your Honor's prior ruling, under Rule

10     9(b), actually has law of the case impact, and is the same

11     analysis that you need to conduct here, in order to find that

12     relator is, in fact, an original source.         The level of

13     specificity and the level of detail that were provided in the

14     second amended complaint that survived the motion to dismiss

15     is the same detail, the same information, and the same

16     specificity that, under Moore, is required to clear the

17     original source bar.

18                 But turning first to this critical issue of first

19     impression.     Medtronic argues that we said that Moore somehow

20     rewrote the statute to exclude the word "agent."           Not at all.

21     In their brief, they had claimed that the Government was a

22     party.    We filed a brief, pointing out that that can't

23     possibly be true because the Supreme Court has held that the

24     Government is not a party in declined actions.

25                 For the first time then, in their reply brief, they
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 73 of 154
                                                                              73

1      come forward with a new argument, in which they don't contest

2      our dispositive case law, which proves that the Government is

3      not a party, and instead, they make, for the first time in

4      the reply brief, an argument that, well, the Government

5      should be considered a party because the relator is its

6      agent, and for that, they rely on a Supreme Court case that

7      was issued in 2000.

8                  The problem is that they are not actually relying

9      on the holding of that case, and they are failing to disclose

10     critical language.      In that case, the question was:          How does

11     the relator have standing?       One of the arguments proffered

12     was that, well, the relator has standing as the statutorily

13     designated agent, and the Court noted that argument.              It then

14     -- and I'll read -- and that's the portion that the -- that

15     Medtronic read to you.      The Supreme Court, however, held that

16     that wasn't right.      It states, and I quote:

17                 "This analysis is precluded, however, by the fact

18                 that the statute gives the relator himself an

19                 interest in the lawsuit, and not merely the right

20                 to retain a fee out of the recovery.        Thus, it

21                 provides that a person may bring a civil action for

22                 a violation of Section 3729 for the person and for

23                 the United States Government."

24                 Citing 3730(b).

25                 "It gives the relator the right to continue as a
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 74 of 154
                                                                              74

1                  party to the action, even when the Government

2                  itself has assumed primary responsibility for

3                  prosecuting it, entitles the relator to a hearing

4                  before the Government's voluntary dismissal of the

5                  suit, and prohibits the Government from settling

6                  the suit over the relator's objection, without a

7                  judicial determination of fairness, adequacy, and

8                  reasonableness."

9                  And I omitted all the statutory cites that they

10     included in there.

11                 And then it concludes, the Supreme Court concludes:

12                 "For the portion of the recovery retained by the

13                 relator, therefore, some explanation of standing,

14                 other than agency for the Government, must be

15                 identified."

16                 The relator cannot be the Government's agent.         It

17     doesn't advance the Government's interest; it advances its

18     own interest.     The Government is not bound by what we, as the

19     relator, do.     We can't dismiss the lawsuit.       We cannot even

20     decide on the terms of settlement.        We are not the United

21     States's agent.     And there is an entire body of case law

22     after this Supreme Court decision, including the Supreme

23     Court decision that we cited to, a 2009 decision, that very

24     clearly holds that the Government is not a party in the

25     lawsuits when they have declined.        To accept this novel
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 75 of 154
                                                                             75

1      interpretation that Medtronic is putting forward, that

2      somehow the relator is acting as a Government agent, would

3      turn the entire statutory scheme on its head.

4                  It's also nonsensical to think that Congress, which

5      is well aware of the case law finding that the relator is not

6      an agent, but instead, is a -- and the phrase is made very

7      clear by the Supreme Court, as they talked back to the

8      dissent.    In Footnote 4, they made it very precise:

9                  "More precisely, we are asserting that a qui tam

10                 relator is, in effect, suing as a partial assignee

11                 of the United States."

12                 That is the phrase that captures the relationship

13     between the relator and the United States.          If Congress, in

14     dramatically, radically lowering the public disclosure bar,

15     wanted to subsume, within its new shrunken public disclosure

16     bar, all declined qui tams, it easily could have referenced

17     the relator.     After all, the term "relator" is used in the

18     statute to refer to the relator.        By contrast, the term

19     "agent" is used in the statute to refer to CMS and the other

20     departments, the parts of the United States that do, in fact,

21     as an agent; so, therefore, like a false claim made to the

22     United States or its agent, meaning it's paying agent.

23                 And of course, as Your Honor is aware, the

24     definition of "agent" is a legal definition; it means one who

25     is entitled to act for.       The relator cannot and does not meet
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 76 of 154
                                                                           76

1      that level.

2                  And so what we're dealing with here is a situation

3      in which this bucket of public disclosure that Medtronic has

4      gathered up from reviewing Pacer files, and finding declined

5      qui tams, none of which were actually litigated in any way,

6      this bucket is a bucket that doesn't rise to the level of an

7      eligible bucket under the statute.        The -- prior to the

8      amendment, any lawsuit counted.        So, prior to the 2010

9      amendment, those would have been public disclosures.

10                 But Congress decided, wait, we think too many qui

11     tams are being dismissed, we think the balance that we're

12     trying to strike of incenting people who know information to

13     come forward has tipped too far towards the defendants.

14     Fraud remains a tremendously, huge financial burden on the

15     Federal Government.      We're going to right that balance by

16     enormously and "radically," as the Third Circuit has called

17     it, by shrinking the types of things that qualify for public

18     disclosures.     And one of the main ways they shrunk it was to

19     say only a fraction of litigation actually counts as a

20     disclosure.     And that fraction is the fraction where the

21     United States is a party, or its agent is a party.           And so we

22     don't have that here.

23                 And so, Your Honor, at the outset, it's important

24     to understand this isn't a jurisdiction inquiry.           And in

25     order to make the decision as to whether we even have to get
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 77 of 154
                                                                             77

1      to the original source analysis, Your Honor first has to

2      decide that there's been eligible public disclosures.            We

3      don't think there are any.

4                  And the -- I want to turn next to -- the argument

5      is clear as to the ones where the United States declined in

6      full.    Those are simply crystal-clear.       That then leaves two

7      in which the United States declined, in part, and intervened,

8      in part.    And then they immediately settled it, with

9      Medtronic paying 23.5 million in settlement for the

10     allegations that they had paid kickbacks.         So turning to that

11     -- just that issue, which we think is the only kind of

12     wrinkle in what is, otherwise, clear-cut, non-eligible

13     disclosures.

14                 Let's look at what it means when the United States

15     intervenes, in part, and declines, in part.          When we look at

16     that, Your Honor, we say, all right, the United States is

17     deciding that it is going to become a party to an action, as

18     to a certain degree.      Had Medtronic not settled the lawsuit,

19     and had the United States intervened, it would have filed a

20     new complaint as to just the conduct that it's going after.

21     That's the way the United States handles the False Claims Act

22     cases.    They want to make sure that they control what they're

23     intervening on, and they want to make sure they're not forced

24     to intervene on other matters.

25                 And so, in this instance, the United States very
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 78 of 154
                                                                             78

1      clearly said, we want to be a party to this case, as respect

2      to this covered conduct.       We've investigated that, we think

3      Medtronic is at fault, and we want to pursue Medtronic for

4      this conduct.     The other conduct, it said it was declining to

5      intervene.

6                   Now we -- there is no case right on point as to the

7      meaning of that.     But the case that's proffered by Medtronic

8      to suggest that, somehow, because they intervene in part,

9      they have to be held to intervene in full, is completely

10     inapposite.     It's a District Court decision out of Rhode

11     Island.    And there, they were talking about two different

12     lawsuits:    A Wisconsin lawsuit and a Rhode Island lawsuit.

13                  The Rhode Island relator -- the Government had

14     intervened, in full, in the Wisconsin lawsuit, was clearly a

15     party and intervened in full.       The Rhode Island relator was

16     trying to say, well, you know, yes, they intervened, but they

17     really were only interested in this subset.          No, they had

18     intervened in full.      So that case doesn't give you any

19     guidance, it doesn't shed any light on the problem.

20                  What I can tell you is that, at least since the

21     late '90s, when I was at DOJ in the Civil Frauds Section, the

22     United States has always successfully managed to pull its --

23     define for itself when it is going to be a party.           And the

24     practice of intervening, in part, and declining, in part, has

25     not been barred by the Courts.        The Courts have permitted it,
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 79 of 154
                                                                             79

1      they have gone along with it, just as it did in the Onwezen

2      and the Schroeder matter.       The Court signed off on that

3      approach, and the Court signed off on that settlement.

4                  And so we think, Your Honor, for that reason, given

5      that there has been no opposition and no case law in which

6      the United States is prohibited from intervening, in part,

7      and declining, in part.       And the case -- the very case at

8      issue here, the Court did not prohibit it.          So, therefore, we

9      can assume the Court allowed -- that particular Court allowed

10     the United States to become a party, to part, and not a

11     party, to part.     And there's no reason why Your Honor should

12     look behind that court order or that ruling or that

13     settlement.

14                 So we think, therefore, the only relevant part of

15     the case, the only statutorily eligible public disclosure is

16     the case that is described by the covered conduct.           And we

17     laid that out for Your Honor, it's laid out in detail in the

18     settlement agreement, and it has no overlap, it has no

19     similarity with the facts and the allegations alleged in

20     Relator Forney's complaint.       So, for that reason, we really

21     think that Medtronic has come up empty in its effort to scour

22     pacer and try to find something that would suffice as a

23     public disclosure.      We do not think any of those complaints

24     survive analysis under the amended version.

25                 For that reason, Your Honor, and because, as Your
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 80 of 154
                                                                                 80

1      Honor -- as we had stated before, we believe the Rule 9(b)

2      analysis controls, we -- when we talked about the rest of it,

3      we simply pointed out what we thought were fairly

4      straightforward and self-evident points for Your Honor.

5                   Number one, the Stokes case has absolutely no

6      overlap.    It had -- it involves a different scheme.            It has

7      simply -- it does have one allegation, in which it states

8      that this conduct is happening, that device interrogations

9      are performed by the device representative themselves.              But

10     it does not give any names of physicians, names of clinical

11     specialists, or hospitals, dates, times, places, no detail

12     whatsoever that overlaps in any way with the free device

13     checks that we have alleged in our complaint.          There's just

14     no overlap at all.

15                  Similarly, there is no overlap with our practice

16     management consulting.      Our practice management consulting

17     has been pled with care in the complaint.         It is -- it comes

18     from this terminology of lean sigma, it's a particular type

19     of practice management consulting that was started recently;

20     in fact, after the folks who are relators in these other

21     matters were even with the company.        So Stokes is the most

22     clear-cut.    It just -- there is no overlap; it doesn't relate

23     in any way.

24                  The Onwezen and the Schroeder are similarly

25     deficient, in terms of the overlap.        They go into that case.
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 81 of 154
                                                                             81

1      Those are the two that were settled, right?          So, even if we

2      assume that the entirety of the complaints, you know, even if

3      Your Honor is not persuaded, as we are, that these aren't

4      public disclosures, and even if you were to look at the

5      entirety of the complaint, you're still not dealing with

6      overlap.    There's no details, Rule 9(b) details, about the

7      free device checks, no names of doctors, no locations of

8      practices, no dates of the device checks given for free, no

9      names of the staff providing the checks.         And again, there's

10     no allegations that relate to the lean sigma consulting

11     whatsoever.     So there's just not an overlap with the Onwezen

12     case.

13                 Schroeder is the same.      He worked in business

14     development, and he really -- he really had a lot of detailed

15     information about the payment of kickbacks, including

16     different kinds of free services, but not the ones that are

17     at issue in our case.      He -- first, on devices, he doesn't

18     even allege that, so there's no physicians or dates or device

19     checks dates at all.

20                 But then, on the -- even on the practice management

21     consulting, his main focus is on the off-label promotion,

22     which doesn't overlap.      And the payments of kickbacks that he

23     was referring to had to do all with cash and dinner and trips

24     and studies and the like, which, of course, the United States

25     intervened and settled some of those because they agreed that
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 82 of 154
                                                                           82

1      some of these studies and the kind of management consulting

2      that was being given was actionable, and the 23.5 million

3      settled all of that.      But that's all conduct that's separate

4      from our lean sigma consulting.

5                   Relator Forney has laid out the kind of

6      reimbursement and administrative help and practice

7      management, and it was done through this -- you know, the

8      terminology was "lean sigma," and that's they went into the

9      practices and said, you know, okay, we've got this, you know,

10     key staff, who have been trained in this lean sigma approach,

11     and we're going to come out and give you this free advice.

12     None of that is mentioned in the Schroeder case.           So Onwezen

13     and Schroeder, again, you have no substantial overlap.

14                  That leaves the other two cases, the Burns case and

15     the Doe case.     And there, you do have -- you do have a

16     similar -- you do have a similar theory of liability, and you

17     have details.     So you have Rule 9(b) specificity that's

18     required.    And so what we need to do, what we need to look

19     at, both for the overlap issue, as well as for the original

20     source analysis, is we read more, we read the Third Circuit's

21     teachings.

22                  And we say, okay, as I sit here today, how am I

23     supposed to figure out, I've got two complaints that, were

24     the United States had been a party, which it wasn't, would be

25     public disclosures.      But say Your Honor thinks that they are
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 83 of 154
                                                                        83

1      public disclosures, okay, let me look at Burns and let me

2      look at Doe.     In both of those cases, they did have specific

3      details that they pled, and that they pled in relation to the

4      device check theory.

 5                 In Burns, he pled that -- in Paragraph 29, he pled

 6     that free device checks were done by Burns, by himself, for

 7     Bradenton Heart Center, Lakewood Ranch Cardiovascular,

 8     Pinnacle Cardiovascular, Advanced Cardiology, Aldrich

 9     Cardiovascular, Heart and Vascular Center.          That's in

10     Paragraph 29.

11                 In Paragraph 30, he alleges, not that he performed

12     the device checks, but that he observed the same conduct, so,

13     presumably, observed other Medtronic employees doing so in

14     Naples, Florida in 2001 to 2002, and in North Carolina in

15     2001 -- 2000 and 2001.

16                 And then, in Paragraph 30, he identifies Dr. Joseph

17     Pace as someone who billed for device checks that were done

18     by Burns.

19                 And in Paragraph 43, he identifies healthcare

20     providers that didn't supervise his work as Bradenton Heart

21     Center, Lakewood Ranch Cardiovascular Center, Healthcare

22     America.    All of those are located in Bradenton, Florida.

23     So, when you measure what -- so that's -- those are Rule 9(b)

24     specific details that are of the similar ilk as Relator

25     Forney's.
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 84 of 154
                                                                            84

 1                 To the same effect, in the Doe case, there is one

 2     allegations that is similar, and that is -- first off, just

 3     as background, the Doe Relators are not Medtronic employees.

 4     They're board-certified cardiologists.         And they are making

 5     the same allegation that Relator Forney is, is that these are

 6     kickbacks, and that they were being induced to use Medtronic

 7     and the other devices by all this free service.

 8                 And in particular, Relator 2 -- they're anonymous,

 9     so we don't know who that is.       But Relator 2 made rule --

10     allegations that read the Rule 9(b) specificity level in

11     Paragraphs 110 to 115.      And he alleges that, on September

12     24th, 2014, a Medtronic Senior Clinical Specialist performed

13     a free interrogation of a pacemaker without any physician

14     being present.     At the conclusion of the device check, the

15     Medtronic Clinical Specialist completed a billing sheet,

16     marking the CPT Code 93280, for a global billing, rather than

17     using the required 26 modifier.        So, between that -- Doe,

18     that paragraph, and the other paragraphs in Burns, that's --

19     those are the specific details that Your Honor has before it,

20     that you need to then compare with the specific details that

21     Relator Forney was able to bring forward.

22                 And what are the details that Relator Forney is

23     able to bring forward?      What you need to do is -- first, what

24     you need to do is tackle this notion that Medtronic is

25     claiming now that, somehow, Relator Forney didn't bring any
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 85 of 154
                                                                               85

1      information, didn't bring any evidence forward.

2                  And I would point out that it was completely

3      Medtronic's option as to when they filed this motion for

4      summary judgment.      It was a surprise to us.      We were not

5      aware -- prior to the deposition of Relator Forney, we did

6      not even know public disclosure was a factor.          We only

7      learned of it during that deposition.         Relator Forney did the

8      best job that she could and provided answers, in which she

9      did testify what was given to the Government.          She testified

10     that everything in the second amended complaint, all of those

11     documents, had, in fact, been given to the Government.

12                 She testified to the best of her recall about the

13     specific documents shown to her.        And during the colloquy

14     with counsel, I also represented to Medtronic that the --

15     that we had produced all of the documents.          Medtronic was not

16     forced to file the motion without doing further discovery.

17     If they wanted to know in advance, before this particular

18     argument session, they had the right to hold off on filing.

19                 In fact, as Your Honor knows, we think this is all

20     premature because it's not a jurisdictional motion.              It's

21     just another discretionary argument that they were free to

22     make on summary judgment at the end.         So, in terms of their -

23     - you know, their argument that they've suddenly been

24     blindsided, quite the opposite.        They, alone, controlled when

25     this was filed, and they, alone, controlled how much
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 86 of 154
                                                                           86

1      discovery they did.      They could have served discovery on the

2      Government, if they wanted to hear from the Government what

3      documents we had given them.       They didn't do that.      They

4      could have served discovery on us, saying, identify the Bates

5      numbers of the documents that you gave to the Government.

6      They didn't do that.      So, you know, from our perspective, the

7      notion that, somehow, we were remiss is contradicted by the

8      record.

9                  What we put in the record, and what Relator Forney

10     testified to is that everything that's talked about in the

11     SAC, all of those documents were given to the Government.

12     Your Honor has already had to review the SAC to decide -- the

13     second amended complaint -- to decide whether or not it had

14     enough detail to survive their challenge.         As you will

15     recall, they challenged it as lacking specificity.           They

16     challenged it as not having enough national information to

17     survive, and that the case should be confined.          They also had

18     not only you rule on that, but they also had the Magistrate

19     rule on that, so that's been ruled on twice already.

20                 And I would just refresh Your Honor's recollection

21     of the paragraphs in the second amended complaint that

22     provide this kind of detail that is far and above and

23     different from the detail that Burns provided and that that

24     cardiologist provided.

25                 First, Paragraphs 4, 5, and 12 give Relator
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 87 of 154
                                                                         87

1      Forney's background.      They explain how she was with the

2      company for a long time, and how -- where she gets her

3      insights from.

4                   Paragraphs 18, 20, 21, 22, 23, 24, and 25 all give

5      specific Rule 9(b) details that go to the how and the when.

6      They talk about the payment of commissions; the fact that all

7      of the clinical specialists and others were incented,

8      financially incented.

9                   And Your Honor, just to refresh your recall, the

10     Moore Third Circuit teaching says, okay, when I'm sitting

11     here as a District Judge, and I'm trying to figure out

12     whether the body of information is enough to serve as an

13     original source, I look to see, did it give the Government

14     new details, new specifics about the how, the what, the when,

15     and the where.     On the financial incentives, that's all brand

16     new.   It's all brand-new details of the implementation.

17                  Relator Forney brings forward Paragraphs 26 to 28,

18     details about the training; again, brand-new details about

19     the implementation, none of which is in any of the other

20     documents.

21                  Paragraphs 29 to 32, that goes to the specific

22     dates, the patients, the types of services, the precise

23     details and what was done; all brand new.         None of that, none

24     of that overlaps.      None of that was known by Burns, none of

25     that was known by that cardiologist in New Jersey.
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 88 of 154
                                                                              88

1                   Paragraph 49, again, additional details on the

2      what?    Examples of dates, doctors, patient names.         Number --

3      Paragraph Number 50, Paragraph 52 and 53, again, all brand-

4      new, specific details.

5                   This information, Your Honor has already ruled,

6      sufficed to satisfy the challenge under 9(b).          That very same

7      information suffices to satisfy the challenge under the

8      public disclosure bar.      It is the same analysis.       The Third

9      Circuit said courts should look to Rule 9(b) as a guideline,

10     as a guideline to how to think about what kind of information

11     they're looking for.

12                  And Your Honor, the second amended complaint itself

13     refers to the documents and quotes a lot of the documents.

14     We have provided Your Honor the universe of documents that

15     was provided to the Government.        Those documents provide a

16     substantial amount of specific, individual detail well and

17     above what we put in the very detailed second amended

18     complaint.

19                  For example, in addition to all of the examples of

20     the free device checks that are crafted in the second amended

21     complaint, the underlying Google calendars that Medtronic has

22     had since the very beginning of discovery, and has been on

23     notice of, even with the filing of the complaint.           We've

24     always made crystal-clear that the calendars are at the hub

25     of this case because the calendars provide the detail of when
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 89 of 154
                                                                           89

1      a device check was given, who it was -- who it was given to,

2      who it was given by, and the date that it was done.

3                  So the documents Bates-numbered 01249 to 1772, and

4      02252 to 2274, voluminous amounts of additional calendar,

5      more detail.     All of that detail is completely new to the

6      Government.     It was not in any of the public disclosures, it

7      was not known to those relators.

8                  So Relator Forney is exactly the type of relator

9      that is bringing forward a huge quantity of specific,

10     detailed information about the who, the what, the when, and

11     the where, the implementation of this fraudulent scheme.          The

12     question to ask is:      Does her information make the quality of

13     the case against Medtronic better?        That's the test that

14     Moore laid out.     And clearly, it does.

15                 It's illuminating, in fact, that the other

16     relators, who had a fairly limited window, they weren't --

17     they were -- one was a -- one was a clinical specialist and a

18     sales rep himself, so he knew of his own conduct.           One was a

19     cardiologist, who had Medtronic come into his office, so he

20     knew of that conduct.      But those are very narrow windows,

21     compared to Relator Forney's window.         She supervised a team,

22     so she had access to the entire team.         Plus, because she was

23     management, she had access to corporate-wide information.          So

24     she's clearly the type of original source that is bringing

25     forward a substantial quantum of additional information.
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 90 of 154
                                                                            90

1                  I would also point out, Your Honor, that, within

2      the documents that we gave Your Honor is substantial

3      additional detail on the value selling, the practice

4      management, more names of the -- more names of the clinical

5      specialists who were involved in this fraud.          You can look at

6      those at 02275 to 276, a whole list of names involved.

7                  You can read the value selling pamphlets, the

8      training, where it teaches the Medtronic clinical specialists

9      how to go out there and offer these as a form of kickbacks.

10     That's at 1915 to 2146.

11                 There's strategic planning documents, there's more

12     on the financial incentives that all of these salespeople are

13     given.    There is educational packets on exactly how these

14     folks are taught to go in and curry favor with the

15     physicians, and to get the physicians to commit to brand

16     loyalty.    So the information that has been provided to the

17     Government and has been provided to Your Honor is a

18     substantial body of information that improves the quality of

19     this fraud case against Medtronic.

20                 It's not coincidental, Your Honor, that all of

21     these other cases that were brought were never litigated.

22     They were dismissed immediately.        The Burns case was

23     dismissed six days after it was unsealed.         Stokes was

24     dismissed while it was still under seal.         Doe was dismissed

25     one day after it was unsealed.        And the Onwezen and
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 91 of 154
                                                                          91

 1     Schroeder, Onwezen was dismissed the same day.          And Schroeder

 2     had no activity, and they appear to just have neglected to

 3     close the case, and a clerk just, later, closed it,

 4     absolutely    no activity.

 5                  It is an open question in the law as to whether

 6     that type of activity actually suffices to qualify under the

 7     civil hearing prong.      And Your Honor, this, again, is a new

 8     legal issue for you.      I don’t think you have to reach it

 9     because I think the better decision is that these are not

10     public disclosures that qualify because the United States is

11     not -- neither the United States, nor its agent.

12                  But I would just note this, in -- as a last point

13     for Your Honor, that, were you to consider the United States

14     or its agent as a party, I would encourage Your Honor then to

15     go the next step and say, okay, in these particular

16     circumstances, does that body of case law that sits out

17     there, that says that civil litigation counts as a hearing,

18     does it -- can it apply in these kind of unique

19     circumstances.     We don't think so.

20                  We don't think you need to get there because we

21     think, first, you should rule that there is no statutorily

22     eligible public disclosure.       And that's why I left that to

23     the end because it is a novel point, and there's not a lot of

24     law to give Your Honor guidance.        But I just raise that as

25     yet an additional reason why we don't think that there's any
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 92 of 154
                                                                         92

 1     way that Medtronic is entitled to summary judgment here.

 2                 So, just to recap briefly, Your Honor, we first

 3     believe that you should deny the motion for summary judgment

 4     on the very simple and straightforward grounds that neither

 5     the United States, nor its agent is a party to any of these

 6     lawsuits.    We think that that applies very directly and

 7     clearly, without even any discussion, to four of the cases --

 8     excuse me -- to three of the cases.        And we think it also

 9     applies just as clearly, but perhaps worthy of some

10     discussion, to the Onwezen and Schroeder because there is the

11     additional point that they did intervene, in part.

12                 So we think that -- we think that, when you do the

13     analysis, and you look at the conduct that's inter -- been

14     intervened on in the Onwezen and Schroeder case, and you look

15     at the fact that there was no intervention on Burns, Stokes,

16     and Doe, Your Honor should reach the clear, legal conclusion

17     that Medtronic has failed to put forward a statutorily

18     eligible public disclosure.

19                 We, second, think that, were you not to hold that

20     way, you, nonetheless, should hold that these -- given the

21     particular circumstances of all five of these civil

22     complaints, none can be found to have been done in the

23     context of a civil hearing, that -- you know, that, although

24     as a general matter, litigation and documents filed in

25     litigation are presumed to be leading to a hearing or part of
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 93 of 154
                                                                               93

1      a hearing, in these cases, we know, conclusively, there was

2      no hearing.     They were all dismissed with no hearing.          So,

3      therefore, that general body of law does not apply here.

4      Your Honor knows, from the actual facts of these cases, that

5      there was no hearing.      And so, therefore, it, again, puts

6      these outside the statute.

7                  The second reason that Your Honor should deny the

8      motion for summary judgment is that Relator Forney easily,

9      easily clears the bar of being an original source.           She

10     brought forward substantial information, which is

11     memorialized in the second amended complaint, and is backed

12     up by the documentation provided to Your Honor; significant

13     Rule 9(b) details of the how, the what, the when, and the

14     where of this fraudulent scheme.        The quality of the case

15     goes way up with her involvement.

16                 That's exactly the reason why Congress re-balanced

17     the public disclosure bar, and lowered it radically.             That's

18     why the Third Circuit, when it reviewed how a District Court

19     Judge should decide these issues, gave Rule 9(b) as the

20     guidepost and the guidelines.       Your Honor has already found,

21     through Rule 9(b), that those allegations suffice.           The same

22     ruling applies here.      And for all those reasons, Your Honor,

23     we believe that you should deny Medtronic's motion.

24                 THE COURT:    Very well.

25                 MS. BURKE:    Thank you.
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 94 of 154
                                                                           94

1                  THE COURT:    Thank you, Counselor.

2                  Attorney Mayer, did that give you something to

3      respond to?

4                  MS. MAYER:    Yes.   I'd like to start kind of in the

5      reverse order of the way I did my original presentation, and

6      respond to the arguments about original source first,

7      although I do want to address some of the points she made

8      about the interpretation of whether these complaints fall

9      within the scope of what the statute allows to serve as a

10     public disclosure, as well, because I think she's missing

11     Stevens.    And I'd like to point out to the Court my views on

12     that, as well as a couple of other things.

13                 But let's start with the back end for right now,

14     and let's start with what she's doing with the -- sort of

15     trying to combine this analysis of whether the allegations in

16     the public disclosure are substantially similar to the

17     allegations in her complaint, versus whether she has provided

18     materially new information that add -- that -- whether she

19     has provided information to the Government, in advance of her

20     case, that materially adds to the prior public disclosures

21     because they're two separate inquiries.         She kind of tends to

22     put the two of them together.       And she's leading the Court

23     down a path that's legally incorrect by doing so.

24                 First, with respect to the substantial similarity.

25     And bear with me for just a moment.        A question whether two
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 95 of 154
                                                                          95

 1     complaints are substantially similar does not involve any

 2     assessment of whether either complaint meets 9(b).           The

 3     reason why the question of whether a relator's theories are

 4     substantially similar to what's been publicly disclosed

 5     doesn't involve any 9(b) analysis is because public

 6     disclosures are not limited, in any way, shape, or form, to

 7     complaints.

 8                 And so the notion that, somehow, if -- you know,

 9     what Ms. Burke did is she sort of very neatly went through

10     and, on the fly, argued that three of the five complaints

11     that we are arguing would serve as a public disclosure don't

12     meet 9(b), so you can sort of put them aside, and the only

13     ones we need to deal with as potential public disclosures,

14     notwithstanding all the statutory arguments, are Burns and

15     Doe because they have some 9(b) details.         So now let's focus

16     on those, and start talking about original source.

17                 So what she's trying to do there is argue that,

18     somehow, the False Claims Act imports into the evaluation of

19     whether a public disclosure is substantially similar to a

20     relator's allegations an analysis of whether the public

21     disclosure meets 9(b).      And there is -- that's nowhere

22     present because most public disclosures, if you look at the

23     various categories that are allowed to be a public disclosure

24     in the statute, are not the sort of things that you would

25     ever apply Rule 9(b) to.       And so that project is just, full
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 96 of 154
                                                                                96

 1     stop, legally wrong.      It's precluded by -- it would be a

 2     gross error.

 3                  And she, notably, is citing no case, zero, for the

 4     proposition that that is the analysis that you should apply

 5     here.    She is inventing it out of whole cloth, and it's

 6     certainly not in Moore, which I am trying to get my fingers

 7     on right now because we will talk about it in a second.

 8                  But for starters, with respect to whether the two

 9     complaints are substantially similar, you do not look at

10     9(b).    The -- sorry.    Why can't I put my hands on Moore?            If

11     you can bear with me for just one moment, Your Honor.

12                 THE COURT:    Certainly, Counselor.

13                 MS. MAYER:    Oh, it's right in front of me.         That

14     always happens, right?

15                 In Moore, the Third Circuit first addressed whether

16     the fraud alleged by the plaintiff was publicly disclosed.

17     Okay?    And they said the first thing we do is consider

18     whether the sources on which defendants rely in arguing that

19     the fraud was publicly disclosed qualify as disclosure

20     sources.    We've talked about that, and we'll come back to

21     that later.     And then we next determine whether substantially

22     the same allegations or transactions were publicly disclosed

23     through these qualifying sources.

24             (Pause in proceedings)

25                  MS. MAYER:   And the way the Third Circuit says you
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 97 of 154
                                                                            97

 1     go about that analysis is you say -- that you ask whether the

 2     allegation of fraud, which would be -- and again, Moore says

 3     (z) [sic] -- is factually described sufficiently in the body

 4     of the public disclosures, through, for example, saying, if

 5     you're relying on various transactions to demonstrate that

 6     fraud.    And the fraud alleged here was that, under a treaty

 7     that required U.S. ownership of vessels, the defendants had

 8     created a situation where they had fraudulently enabled

 9     foreign ownership of the vessels, while representing to the

10     Government that -- the U.S. Government, to get these

11     licenses, that they were -- these were U.S.-owned.           So that's

12     the fraud alleged by the relator.

13                 And so the question is:      Did the prior public -- as

14     the Court is analyzing this -- and this is at -- I'm trying

15     to find the page cite for you -- 303.         So it's 812 F.3d, at

16     303.

17                 So the first thing, when you have a situation like

18     this, where -- and again, these -- nobody was alleging that

19     the -- that fraud theory was present in any public

20     disclosure, but just that the facts that reveal the fraud

21     were disclosed in that prior public disclosure.          The Court

22     says, okay, so now we look at the facts in the public

23     disclosures.

24                 Well, in the news media, there was information

25     about the vessel captain being American, but not having
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 98 of 154
                                                                          98

1      control of his vessel.      And in the FOIA reports, we had

2      information about representing to the Government, by the

3      owners, that this was a U.S.-controlled vessel.          So we have a

4      disconnect there that gives rise to that inference of fraud

5      that is the theory that is alleged.

6                  In this discussion of substantial similarity, which

7      concludes before the Court turns to original source, there is

8      no discussion of whether 9(b) details are alleged or present

9      it the public disclosure.       It's simply not a part of the

10     analysis.    The Court eventually talks about 9(b), and we'll

11     talk about that in a second.       But for purposes of evaluating

12     whether the public disclosures that Medtronic has put forth

13     in the summary judgment argument and in its papers are

14     substantially the same as the allegations in Ms. Forney's

15     complaint, the question is just whether the facts alleged in

16     those complaints reveal the theory of fraud that she is

17     propounding in her case.

18                 We believe they actually propound that theory of

19     fraud.    But the whole point is they just have to plead and

20     reveal those facts in this public forum, and they more than

21     do.   And so there's no 9(b) analysis.        The fact that she has

22     pled what she -- in her second amended complaint, which she

23     claims to be more specific details on certain respects, and

24     that the lean sigma brand was revealed, is irrelevant to the

25     substantial similarity analysis, provided her theory that
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 99 of 154
                                                                           99

 1     consulting services, practice management consulting, and

 2     device checks were -- that's her theory, device checks were

 3     provided for free, and that was a kickback to doctors, and

 4     Medtronic did it to sell product.        That's in every -- that's

 5     in Onwezen and Doe and Burns and -- not Schroeder.

 6                 But we believe facts supporting that are in Stokes;

 7     not the whole theory, but facts supporting it, that Medtronic

 8     fields sales were, as a routine matter, going out and,

 9     widespread, across the country, going to specific hospitals,

10     doing device checks and interrogations and reprogramming as a

11     fact.    That, in and of itself, isn't -- is not enough to

12     preview Ms. Forney's fraud, but that, when added to the other

13     disclosures, adds a little bit to it, including specific

14     examples of hospitals and regions in the country where this

15     was going on.     So that's the substantially similar test.

16                 So her argument that you should somehow not

17     consider and reject the notion that anything other than the

18     Burns and the Doe complaints were substantially similar to

19     her allegations because, on her view on the fly, they lack

20     some 9(b) specificity about individualized claims, is

21     completely incorrect under the law.        And Moore provides her

22     no support with that, and she has cited no case for that

23     proposition, and it's not in the statute.

24                 Next, in terms of original source analysis under

25     Moore.    Her lead argument, in her brief and today, is that
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 100 of 154
                                                                               100

 1      the analysis of whether Ms. Forney qualifies as an original

 2      source, and whether what she's provided to the Government

 3      materially adds to what was publicly disclosed, is that you

 4      look at the second amended complaint.        And there are two

 5      fundamental errors with that.

 6                   First, you start, again, with the statute.          The

 7      statute does to say, when you evaluate what information a

 8      relator provided to the Government in advance of the

 9      litigation, you should look, in the first instance, to the

10      complaint, or that you should look at all to the relator's

11      complaint.    In fact, unless the relator provides a copy of

12      the complaint to the Government in advance of commencing the

13      action, the complaint itself is just that.         It's allegations,

14      but it's not a part of what the relator must provide to the

15      Government, in order -- and what can be considered, for

16      purposes of whether they've added material information to the

17      Government to meet the requirements of an original source

18      under the public disclosure bar.

19                   Again, this is technical, but this is the way

20      congress has set up the statute.       And this requirement that

21      the relator, to qualify as an original source, provide

22      information to the Government in advance of the action is not

23      a new requirement.     It's phrased a little -- you know, it's

24      part of the revision of the statute here.         But it's not a

25      new, either limit, or expansion, versus the old bar.             A
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 101 of 154
                                                                         101

 1      relator has always been obliged to provide the Government

 2      with information in advance of commencing the action, in

 3      order to qualify as an original source, and then the

 4      information is what's critical.

 5                  Here, relator's second amended complaint wasn't

 6      created or filed with the Court until this year, which is

 7      fully two years after she commenced this action; and,

 8      therefore, her -- so the first reason why her second amended

 9      complaint cannot be considered, when you're evaluating what -

10      - whether information she provided to the Government in

11      advance of her commencement of the action satisfies the

12      requirements of being an original source, is that the second

13      amended complaint and whatever it contains -- first of all,

14      it's just allegations, and we're at summary judgment.

15                  More to the point, the document itself contains

16      characterizations of documents, allegations that are

17      untethered to documents, and frankly, some really, really

18      troubling exaggerations and misrepresentations of documents,

19      and contains a lot of information that Ms. Forney herself

20      apparently doesn't have, and can't explain where it came

21      from.   That document was filed and created in 2017, and so

22      that document is absolutely, under the plain language of the

23      statute, barred from consideration.

24                  Some relators do disclose, in their disclosures to

25      the Government, in advance of filing and action, a copy of
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 102 of 154
                                                                                102

 1      the complaint.     You will occasionally, in the case law, see

 2      reference to the relator's disclosing complaints as part of

 3      that packet.    The documents that were provided to you and

 4      were identified for us don't contain a copy of even the

 5      original complaint in the case, and so the complaints are

 6      out.

 7                  I will note, just so that the Court understands,

 8      when you look at Moore, and when you look at other cases in

 9      this area, what you are seeing.       Public disclosure bar is

10      sometimes litigated at the motion to dismiss stage.              When

11      it's litigated at a motion to dismiss, there has been no

12      discovery or effort to take discovery.        It is a motion to

13      dismiss.

14                  Under those circumstances, what a defendant will

15      do, if they want to raise the public disclosure bar at that

16      point, is put in the public disclosures.         But with respect to

17      the relator's qualifications as an original source, unless

18      the relator offers a declaration or some sort of voluntary

19      supplemental information about their disclosure to the

20      Government in advance of the litigation, all that we have on

21      the record is what relator alleges in the complaint is their

22      disclosure in advance of the litigation.         And Courts

23      routinely use the complaint and allegations in the complaint

24      as a proxy for that because we're litigating the public

25      disclosure bar in the absence of discovery, at an early
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 103 of 154
                                                                         103

 1      stage.

 2                  In this case, we are litigating this issue now,

 3      after discovery.     And so it's no longer either necessary or

 4      appropriate to rely on a complaint because we don't have to

 5      worry about allegations about what was or wasn't in Ms.

 6      Forney's mind.     We actually have, to the extent we have it,

 7      information about what she disclosed, and the limits of that,

 8      in advance.    And it would be improper to expand the scope of

 9      that beyond what the statute limits the relator to, for

10      purposes of what she has to do in advance of the litigation

11      to potentially qualify as an original source.

12                  So the second amended complaint is a giant red

13      herring here.    It's a completely irrelevant document, for

14      purposes of evaluating whether Ms. Forney is an original

15      source.   And to be clear, it's relevant for assessing, you

16      know the substantial similarity because it helps define her

17      theories.    But there's no 9(b) analysis.       That's just looking

18      for the facts in the body, collectively, of the public

19      disclosures; facts that disclose the theories of fraud that

20      she's alleging in the complaint.       After that analysis, we go

21      to original source.     She's got to point to the information

22      she gave to the Government in advance of the litigation, and

23      that is not in the second amended complaint, or any of her

24      complaints.

25                  By way of explanation, our opening brief, we did
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 104 of 154
                                                                         104

 1      not -- even though we had tried, we had -- did not have the

 2      discovery that she's now provided to us in court, through

 3      this briefing process, about the documents that she says were

 4      provided to the Government in advance of filing the case.

 5      And so we relied on her testimony to say that the documents

 6      at issue are the documents that are identified in the second

 7      amended complaint because that was the best -- we thought

 8      that was the record for purposes of the issues in this case.

 9                  We thought it was reasonable to believe we had the

10      information that there was to have on the record, having

11      asked for it in a document request and interrogatory and a

12      deposition.    We thought that we had exhausted the reasonable

13      avenues that we should be required to take during discovery,

14      in order to discover a particular piece of information, of

15      non-privileged information.

16                  And I, as an aside, want to point out that I think

17      Ms. Burke's suggestion that she had until the close of

18      discovery to force us to keep coming up with yet more

19      inventive ways to try to ask for the same information

20      iteratively is -- shouldn't even be a speed bump in the

21      Court's consideration of whether we did everything that we

22      were required to do to try to elicit the Bates numbers or the

23      identification of the actual communication that was provided

24      to the Government.

25                  The issues in this case were and are and remain
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 105 of 154
                                                                              105

 1      ripe for decision.     This is not a premature motion.           At the

 2      time we filed it, by the way, there was a jurisdictional

 3      issue here.    Absolutely, the pre-PPACA claims are in it.           It

 4      was not until our opposition briefing that they were taken

 5      out.   And so this was absolutely and remains appropriate to

 6      raise to the Court, immediately.

 7                  Now, so focusing, though, on this.       So we cleared

 8      up a couple of things.      Number one, when evaluating whether

 9      we've got substantial similarity, we don't apply 9(b) to the

10      publicly disclosed complaints to eliminate a bunch of them.

11      That's error.

12                  When you turn to whether she's an original source,

13      all the discussion about, you know, the detail in the second

14      amended complaint is irrelevant because that document is not

15      a document that was disclosed to the Government in advance of

16      Ms. Forney's commencement of the action.         And that is the

17      information that the statute requires materially add to the

18      public disclosures in the case.

19                  I next turn to her argument that Moore says that,

20      when evaluating whether information materially adds to the

21      public disclosures, the analysis that you're supposed to do

22      is just ask whether the relator's complaint meets 9(b).              So,

23      in addition to the problem that you don't look at the

24      relator's complaint in a case like this, where we're passed

25      the motion to dismiss stage, and we actually have, you know -
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 106 of 154
                                                                          106

 1      - take, you know, something of a record of -- and it's clear

 2      that that second amended complaint was not produced to the

 3      Government in advance of filing the action, it didn't exist,

 4      the argument that, if a Court rules at a motion to dismiss

 5      that a particular relator's complaint meets 9(b), or simply

 6      decides not to dismiss the case, and allow it to proceed into

 7      discovery, as Your Honor did here, the notion that, somehow,

 8      that establishes that, to the extent there's some later

 9      public disclosure bar analysis, she automatically qualifies

10      as an original source because her complaint survived 9(b), is

11      both a complete misreading of Moore and an -- well, it is.

12      It's a complete misreading of Moore, and it doesn't make any

13      sense under the statute, either, for two reasons:

14                  First, it's simply not what Moore said.        Moore was

15      crystal-clear -- and now I'm going to lose Moore again --

16      when it says that the analysis that you need to do to

17      evaluate whether knowledge is -- materially adds to a public

18      disclosure, is that you have to do a comparative analysis.

19      You have to compare the information that was provided to the

20      Government in advance of the disclosure to the public

21      disclosure.

22                  Rule 9(b) -- when Your Honor evaluated whether Ms.

23      Burke's second amended complaint and first amended complaint

24      satisfied Rule 9(b), you looked only at each of those

25      complaints.    There's no comparison to anything, let alone to
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 107 of 154
                                                                          107

 1      public disclosure of information that was neither before the

 2      Court, nor on the horizon, at that point, for any of the

 3      parties.

 4                  So the notion that -- you know, first off, that,

5       somehow, Moore created a shortcut or a cheat to the analysis

6       that needs to be done under the statute, comparing the

7       information, to see if it materially adds to the public

8       disclosure, is just sort of mystifying, where that came from.

9       So, first of all, the fact that her second amended complaint

10      went through 9(b) is both irrelevant because the second

11      amended complaint is irrelevant.       But it's also irrelevant

12      because the Court doesn't hold that, if a complaint survives

13      9(b), the relator qualifies as an original source, without

14      doing any kind of a comparison -- comparative analysis.

15                  So let's turn to -- and those are -- they're so

16      critical to clear this stuff up because it is technical.         And

17      if you move quickly through, sometimes you can miss stuff.

18      So let's see what Moore says about materially adds and about

19      9(b), so we can understand it and put it in context.

20                  When Moore is addressing materially adds -- which,

21      by the way, was in 2016, and it was before the U.S. Supreme

22      Court ruled in Escobar, which -- issued a decision in

23      Escobar.    And in Escobar, it was addressing the concept of

24      materiality under the False Claims Act, and there, in the

25      context of liability provisions of the False Claims Act, but
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 108 of 154
                                                                             108

 1      in that decision issued some important statements about what

2       "materiality" means.      I don't believe that what Moore says

3       and what the Supreme Court said are in conflict.          I believe

4       the two can be harmonized.

5                   And I mention the Supreme Court case because -- and

6       we mentioned it in the briefs because I think it informs how

 7      to read Moore, and how to sort of build on Moore, as you

 8      conceive of the analysis that needs to be done here.             But it

 9      is certainly relevant, and it would certainly be

10      inappropriate to, you know, read Moore in a way that was

11      inconsistent with Escobar.

12                  So Moore looks, because it didn't have the benefit

13      of the Supreme Court decision, first to a dictionary, and

14      they choose the New Oxford, to look at "add" and the word

15      "material."

16                  In the Winkelman case, which we've also cited in

17      our brief, which was a First Circuit decision, looking at how

18      Escobar -- what Escobar had to say about materiality impacts

19      the public disclosure bar, the Court cited Moore -- again, I

20      think these decisions are all in harmony with each other --

21      and looked to Black's Law Dictionary for "materiality,"

22      instead of the Oxford New English, but it's the same concept,

23      is you look at what these words mean.

24                  And so they say it's -- you know, it's significant,

25      it's influential, it's "essential," is another word that
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 109 of 154
                                                                           109

 1      comes into play in these decision.        The Third Circuit says

 2      that:

 3                  "To materially add to the publicly disclosed

 4                  allegation or transaction of fraud, a relator must

 5                  contribute significant additional information to

 6                  that which has been publicly disclosed" --

 7                  And then it says:

 8                  "-- so as to improve its quality."

 9                  And that gets to their definition of what "add"

10      means, is to put something in or something else, so as to

11      improve or alter quality.      So that's the -- that's this gloss

12      on it.

13                  What the Supreme Court adds is a couple of things.

14      First of all, it emphasizes that materiality, in any context

15      in the common law and otherwise, is both a very demanding

16      standard, this is not a low bar; and number two, when you ask

17      whether something is material, it's about is it material to -

18      - is it important or does it add essential facts to the

19      recipient of the information.

20                  So, again, I don’t think this is some magic silver

21      bullet.   I'm just saying these -- this is what the discussion

22      around materiality is.      So the question is not does it, in

23      the abstract, add to the quality of the case, which is Ms.

24      Burke's construal of what the Court in the Third Circuit here

25      is trying to do.     I think the right way to look at this is
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 110 of 154
                                                                          110

 1      you have to ask whether the information that the relator

 2      disclosed to the Government, in advance of filing the action,

 3      significantly adds, you know, new, essential facts to the

 4      fraud that was publicly disclosed, in a way that's meaningful

 5      to the recipient of the information, which is the Government.

 6      So it's got to be significant and essential, from the

 7      perspective of the Government.       Okay?   Because they are the

 8      recipient of the public disclosure, of that information.          So

 9      it's just a whose perspective is it in.         It's not the world,

10      in the abstract, but the Government.

11                  It's also clear that it's a comparative analysis

12      here.    Again, what -- as the Court goes on, it talks about

13      whether -- you know, it talks a little bit about the

14      relationship between the substantial similarity standard and

15      the materially adds standard.       And it recognizes that, just

16      because they found that some -- that to -- that the public

17      disclosure is substantially similar to the relator's

18      theories, that doesn't answer, it's not coextensive with has

19      the relator's information that they provided to the

20      Government, in advance of the action, materially added,

21      right?   That they're different because there has to be able

22      to be a gap between the two, or the materially added

23      information -- in theory, otherwise the materially added

24      requirement wouldn't be meaningful.        And so it said, just

25      because we found there was substantial similarity in Moore
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 111 of 154
                                                                               111

 1      doesn't mean that the relator's information materially added.

 2                  So then it says, well, how do we figure out what

 3      "materially added" means in this context.         And we already

 4      know that they're substantially same.        And the -- that's

 5      where they use 9(b).      And they don't use 9(b) to say evaluate

 6      the relator's complaint.      What they do is they say -- and

 7      it's said in the context of a case where the fraud that was

 8      alleged was pretty thin in the public disclosures, and there

 9      was a huge gap.

10                  There wasn't -- these weren't -- this wasn't a

11      public disclosure from a corporate insider.         This was a

12      public disclosure from a couple of news media sources and

13      some FOIA information that literally disclosed American --

14      like a couple of salient facts, contradictory facts.             And

15      then the whole body of the public disclosure required an

16      inference of fraud to be knit together between the two.

17                  The who, what, when, where, and how, the 9(b) is

18      what the Court says, that when we're trying to figure out

19      what are the kinds of facts that, if they're not in a public

20      disclosure, are salient.      It's who, what, when, where, how.

21      You know, is the relator adding information on those points

22      that's missing, and that is really essential to and

23      significant?    A demanding, high bar.      Okay?

24                  And so, in Moore, the issue there was that the

25      relators had been able to go through civil discovery in a
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 112 of 154
                                                                            112

 1      wrongful death case that did not, itself, qualify as a public

 2      disclosure under the new bar, and had depositions of the

 3      principals.    They had taken document discovery.        And so they

 4      were able to flesh out the context, the color, the -- all the

 5      why behind what was going on.       Like it wasn't just, oh, I see

 6      an American ship captain who doesn't have control, and a

 7      representation that there is control.        It literally got at,

 8      through the depositions and all that evidence, disclosure of,

 9      you know, here's how the sham transactions work, here are the

10      filial and financial relationships among the different people

11      that affected the transaction, and also, a lot of important

12      facts about how the companies worked, what the different

13      corporate relationships worked, how the money interacted in

14      between and among them.

15                  So it was -- and those are facts that are not just

16      general here's how we do business facts.         These were facts

17      that were directly pertinent to the -- proving that there was

18      actual fraud going on, as opposed to, well, we're going to

19      infer fraud from these disparate facts, but you know, is it

20      really fraud.    So, there, that was the way that analysis

21      went.

22                  You had a low degree, very little, by way --

23      roughly, pretty little, by way of the public disclosure.         And

24      so the bar for what's going to materially add is going to be

25      a lower bar.    And in this particular case, the relator,
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 113 of 154
                                                                         113

 1      because they had litigated this case all the way through had

 2      had access to all that discovery, was able to put in quite a

 3      bit more.

4                   Winkelman is a great example of another case

5       that's, again, applying that same concept of materiality

6       here.   But there, what had been publicly disclosed was

7       higher.   The theory of fraud itself had been publicly

8       disclosed in news media.      And what Winkelman says -- and it

9       applies very much here, too -- is that, when there's more

10      that's been disclosed, the bar for what you need to add, to

11      add something that's significant and essential for the

12      recipient of the information, to qualify as an original

13      source, is going to be much higher, right?

14                  So that's why Ms. Burke is trying very hard, of

15      course, to exclude chunks of our public disclosure because,

16      if the only things that count as public disclosure is, you

17      know, three paragraphs from the Burns complaint, she's got a

18      much lower bar to meet, to try to argue that her clients --

19      the information her client provided to the Government in

20      advance of filing the case, you know, might qualify as a

21      public disclosure.

22                  But when you look at the -- all the public

23      disclosures as a whole, you see, you know, an extensive --

24      you see, on the device check theory -- you know, start there

25      -- allegations that Medtronic's business was to have field
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 114 of 154
                                                                           114

 1      employees doing device checks, on demand.

2                   Onwezen alleges that the business model was that,

3       if you implant our device, we will do everything, from then

4       on, for you, it's ours, we got it covered.         That's the device

5       checks, the interrogatories, it's billing information, it's

6       everything.    Talk about practice management consulting?

7                   It's -- there are allegations in the prior-filed

8       complaints that we had a promotional product that was a heart

9       failure clinic in a box, where we'll give you the forms,

10      we'll show you how to do it better, we'll do all of this.

11      This is in the prior-filed stuff.        Branded lean sigma, no,

12      but it's the same exact kind of things that she describes.

13                  And so, when you have this, and you're trying to

14      figure out whether what she's disclosed to the Government

15      materially adds, you have to ask, in light of the body of all

16      of this, are the additional facts that are contained in those

17      disclosures essential.

18                  So let's turn of some of what she highlights here.

19      Again, I maintain, and I've made -- and I don’t think I need

20      to reargue, you know, the issues about lack of admissibility

21      around the evidence of the date and content of the

22      information provided to the Government in advance of the

23      disclosures, but we've already covered that.

24                  In terms of what she's saying, aside from the

25      complaint -- which, again, is not -- doesn't qualify as
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 115 of 154
                                                                                 115

 1      information provided to the Government in advance -- she

 2      pointed to -- she listed that, in the information, in the

 3      documents that they gave the Government, she said there was

 4      substantial additional detail on value sales, practice

 5      management, the names of CSs involved in the fraud.              There

 6      were value selling pamphlets, strategic planning documents,

 7      and a bunch of other things.

 8                  She only actually provided Bates ranges for a

 9      couple of these.     So, again, I mean, this is -- we're even at

10      oral argument, and we're getting descriptions, and we're not

11      actually even getting what's specifically in here that's --

12      that matters or that's difference.        But let's take on some of

13      these things that she's identified, just to give you a sense

14      of what needs to be done.

15                  With respect to the value selling instruction

16      pamphlets, which are 1915 to 2146, these are value-based

17      selling roleplay workbook and pre-service reading.          So these

18      are the documents that they gave the Government.          Again, if

19      you look at the documents, what -- they don't add -- first,

20      they don't add anything material to the fraud allegations.

21      What they're doing is they're saying they're training people

22      how to sell products by finding out what the recipient of

23      your sales pitch cares about.       It's like Selling 101.

24                  This isn't a book that is teaching people how to

25      provide free services.      This is a book about teaching sales
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 116 of 154
                                                                             116

 1      reps how to listen to their audience and understand what

 2      matters to them, engage a doctor in a conversation, find out

 3      that, oh, gosh, it's really hard for us to, you know, get

 4      patients on snowy days; well, you know, we have a remote

 5      monitoring option that allows you to have your patients

 6      checked remotely, so that they don't have to come into the

 7      office; wow, that's really great, that might be a reason why

 8      I might choose a Medtronic product.        Okay?   That's value

 9      selling, that's what these are teaching people how to do.

10      So, first of all, they don't add to the fraud.

11                  Second of all -- and I think this is important, as

12      well -- if you look at the dates on these documents -- now

13      keep in mind, we're talking here about conduct March 23, 2010

14      forward.    So Relator Forney provided to the Government -- and

15      it's just the documents -- these value-based selling

16      workbooks and things are dated 2006 and 2008.          Full stop.    So

17      it's two years -- the latest one of these is two years prior

18      to the time period where the conduct is at issue.          Now, if

19      Ms. Forney had given a statement to the Government

20      contemporaneous with this, saying, hey, these workbooks were

21      used in 2010 and 2012 and 2016, that would be one thing.            But

22      we don't have that, she didn't do that.

23                  So the question you're asking is:       Is this value-

24      based selling stuff, on its face, information that materially

25      adds to the allegations of fraud that we already see in the
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 117 of 154
                                                                             117

 1      publicly disclosed information?       And the answer is no.

 2                   It's also worth noting that these -- you know, this

 3      value-based selling have some examples in roleplay where

 4      you're going to be talking about, you know, device checks and

 5      all of that, but again, fully publicly disclosed in the prior

 6      disclosures that there were people, clinical specialists,

 7      whose job at Medtronic was to go do device checks, post-

8       implantation.    That's what Onwezen alleged, my job, up to 40

9       a day -- or 40 a week, I mean, a high volume, that's what I

10      did, day in and day out, right?       That's all fully disclosed.

11                   So, you know, seeing a document that says, you

12      know, you're trained to ask good questions of your customers,

13      to understand where they have problems that you can solve, is

14      just basic selling stuff.      It doesn't support fraud at all,

15      let alone add to her theories.       And it goes on from there.

16                   In terms of the name -- in terms of the other

17      document that she pointed out to, which are the Google

18      calendars that she called out, this relates to the device

19      check theory, at Bates Numbers 01249 to 1772, and 02252 to

20      2274.   These are documents that she provided to the

21      Government and relied on in drafting her original -- her

22      first amended complaint, and then in her second amended

23      complaint.

24                   These documents certainly do provide information,

25      details about efforts to schedule device checks.          And then
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 118 of 154
                                                                          118

 1      they also provide information about -- they're sort of

 2      slightly illegible -- and that's generous -- printouts of

 3      calendar entries, with a lot of fairly indecipherable

 4      information on it.     And again, what was provided to the

 5      Government was just the documents, not context.

 6                  They span a date range of, roughly, September 2011

 7      to January 2012, so it's a short time frame.         And they show

 8      that lots of -- if you take them at their face -- and again,

 9      I don’t think this is necessarily evident, just on the face

10      of the documents.     But even being most generous to Ms. Burke,

11      they show lots and lots and lots of device checks were

12      scheduled to occur, lots and lots and lots of device checks

13      were scheduled to occur.

14                  The Onwezen complaint, on its own, the allegation

15      that, hi, as a clinical specialist, our jobs are to go out

16      and do device checks, all day, every day, these calendars

17      don't add anything material from the perspective of the

18      Government to that allegation.       Okay?   Because all these do

19      is they show, at best, at best -- and again, on their face, I

20      don’t even think it's clear what they show.         And keep in the

21      mind, the document, and not testimony explaining the

22      document, was provided to the Government.         They show, on

23      their face, very little.

24                  I -- also, to the extent that Ms. Burke has

25      emphasized that these documents meet 9(b), help meet 9(b),
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 119 of 154
                                                                               119

 1      are pertinent to the Medicare claims at issue in this case,

 2      which she's been pursuing, I also want to point out that --

 3      and we mentioned it in passing in our brief -- her

 4      allegations in her second amended complaint, in Paragraph 49

 5      in the first amended complaint that the Court insufficient to

 6      pass 9(b) because they didn't identify patients as actual

 7      Medicare patients, for whom Medicare claims were submitted.

 8      And that was essential for -- you know, to pass 9(b).            And

 9      then, in her second amended complaint, she amended that

10      paragraph, and said, oh, these are Medicare patients, and

11      they did have claims submitted for them.         All the information

12      she is relying on to make those allegations are in here.

13                  And we deposed Ms. Forney on it.       And if you look

14      at the documents, it is crystal-clear there is not one piece

15      of payer information in here, and there is not one piece of

16      claim information in here.      So these documents do not show

17      Medicare beneficiaries, Medicare payer, Medicare claims, or

18      Medicare payment.

19                  That -- when we say these show less to the

20      Government than what the Burns complaint did, one of the

21      things I mean is the Burns complaint attached many fewer

22      examples of superbills.      But number one, they were bills.

23      And number two, at least for some of them, they actually

24      indicated that Medicare was a payer on it.         That's not -- she

25      has nothing, not one thing in this huge stack of documents
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 120 of 154
                                                                             120

 1      that identifies a person for whom Medicare was a payer, and

 2      not this detail on these checks.

 3                  These documents show the Government what they

 4      already knew from the prior public disclosures.          All those

 5      complaints on device checks, the device checks are being

 6      scheduled, the Medtronic people are doing them all the time,

 7      and that they're going forward.       These documents, even though

 8      they are a high volume of checks, it's for a short period of

 9      time.   And they don't add anything to what Onwezen alleged,

10      what Burns alleged, and all of that because, again, they're

11      showing that Ms. Forney is seeing the same thing, and is

12      alleging the same thing that others have alleged, just based

13      on her experience in Pennsylvania.

14                  In terms of some of the other documents that you

15      see in this giant stack, she cited to, I think Bates names

16      [sic] 275 to 276 as documents that provide names of CSs

17      involved in the fraud.      I would draw the Court's attention to

18      the documents Bates-numbered REL-00275 and 00276.          My

19      document, with those Bates numbers, are blank health

20      insurance claim forms that contain no information whatsoever,

21      and certainly no information about CS names.

22                  And for what it's worth, this is raising, in my

23      mind, once again, questions about the integrity of the

24      production, about -- I mean, maybe Ms. Burke just miscited a

25      document in oral argument, which is fine.         But we've only
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 121 of 154
                                                                          121

 1      gotten pointed now, on the fly, to maybe four different jump

 2      cites within her documents, and one of them doesn't line up

 3      with her description.      So, either your documents match mine,

 4      or mine match hers, or I'm not even sure who has what at this

 5      point, which, again, is -- I realize we moved for summary

 6      judgment on this jurisdictional and other issue before

 7      summary judgment ended.      But we had asked 16 times until

 8      Tuesday for exactly her communications with the Government.

 9      And now I'm wondering whether we even still have them.

10                  Other documents in here -- and this is what I mean

11      by they don't materially add to the broad public disclosure

12      that's already there.      There are no emails in this stack of

13      documents, just by way of example.        When you think about the

14      kind of documents that a corporate insider could potentially

15      pull and provide to the Government to really provide

16      meaningful, essential, new evidence of fraud, that maybe the

17      Government had only seen disclosed before in prior public

18      disclosures at a higher level:       Emails; internal corporate

19      planning documents that talk about, we got to provide these

20      free services, here's the ROI for the free services that

21      we're going to be providing, right?        Those kind of documents

22      that sometimes appear in cases.       None of that is in here.

23                  What you have are, you know -- just looking at the

24      first document, we have a PowerPoint presentation about 2009

25      CPT codes for device monitoring.       It opens with a disclaimer
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 122 of 154
                                                                         122

 1      that the sources for this are AMA-published and Federal-

 2      Register-published information, and you shouldn't rely on our

 3      coding advice, you should really, you know, rely on your own

 4      coders, but this is sort of for your information because we

 5      want you to have this coding information about our products.

 6      This program has the prior approval of the American Academy

 7      of Professional Coders and AHIMA.        And then it goes through

 8      codes, and it's coding information.

 9                  In the prior public disclosures are disclosures

10      about providing coding and billing information and education

11      to doctors.    Stokes alleges it in the case.       It's a fact, not

12      a fraud theory.     But it's a publicly disclosed fact that he

13      is a health economics guy and was going around teaching

14      hospitals about coding and billing and how to do all this

15      stuff.

16                  Then there's a whole chunk of this material are

17      just documents that are hospital outpatient services lab

18      sheets, reimbursement and billing advice, again, coding

19      information.    We've got a copy of the AdvaMed Code, we've got

20      a copy of the CMS Avoiding Medicare Fraud and Abuse Roadmap

21      for Physicians.     Providing this information to the Government

22      doesn't materially add essential, significant information

23      about the fraud that she is pursuing in her case, relative to

24      these five complaints, public disclosures articulating what's

25      going on.    Most of it isn't even relevant.
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 123 of 154
                                                                           123

 1                   She's got completely inexplicable composite

 2      documents in here, again, showing process flow at a couple

 3      examples of practices in the East Reading area.          And I'm

 4      looking at REL-00471, for example.        There's nothing in here

 5      that talks about Medtronic providing services for free, and

 6      there's nothing in here that talks about Medtronic providing

 7      device checks for free.      It's just not -- there's nothing on

 8      the face of the document that is germane to the theories in

 9      her case.

10                   Could Ms. Forney provide testimony about this that

11      would potentially explain that this is a document that

12      somehow does provide evidence that supports her theories?

13      Maybe.   But she didn't provide it to the Government in

14      advance of filing her case, and we have no evidence that she

15      provided it to the Government at all.

16                   We do know she was interviewed by the Government,

17      but both the Government and Ms. Burke are retaining privilege

18      over that.    And so you can't assume that Ms. Forney explained

19      these documents and why they support evidence of fraud, when

20      they don't, on their face, even relate to her theories

21      because, to the extent any such disclosure even was made,

22      it's either privileged or not in advance of the case being

23      filed, as it needs to be, in order to qualify her as a

24      relator.

25                   There are -- there is a PowerPoint in here -- I
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 124 of 154
                                                                           124

 1      mean, just by way of example, you know, part of what matters,

 2      too, is there is stuff in here that just seems wholly

 3      irrelevant.    There's a document here, REL-00522, called

 4      "Quality at the Roots, Ensuring Quality from Idea to

 5      Explant."    It's a PowerPoint that is talking about

 6      reliability data relating to recalls.        There is no theory in

 7      this case that relates to recalls and reliability of product,

 8      right?   But this was part of the disclosures to the

 9      Government.

10                  There is a document deciphering the code, which is

11      an instruction manual on the AdvaMed Code, which she mentions

12      in her complaint.     But it is something that the Government

13      may not have had already, except for the fact that it's

14      already been disclosed because it was talked about in the

15      Burns complaint.     Burns alleged -- Burns describes

16      deciphering the code in his complaint.        So the fact that they

17      are providing a copy of it doesn't add anything to what's

18      already been prior publicly disclosed.        And all it is, is an

19      industry guidance on AdvaMed.

20                  Again, this doesn't add anything.       This isn't a

21      significant, essential, new piece of information that adds

22      materially to this body of public disclosure about the fraud

23      alleged, which is you are providing device checks for free,

24      in order to get remuneration.

25                  You certainly see, you know, an agenda about a
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 125 of 154
                                                                             125

 1      clinical specialist annual meeting that says, hey, we want

 2      you guys to contribute to profitability.         Okay.   But that's

 3      it, right?    No explanation.     This is not a document that adds

4       to the Onwezen and other allegations, that say, my job was to

5       go do device checks for free, to make sure the doctors knew

6       that, once they implanted our product, we would take care of

7       everything for them, from that point forward, right?

8                    There are, you know, some compliance policy pieces

9       of information here that say Medtronic has a compliance

10      policy.   It doesn't add anything that's essential, that's

11      demanding, that's significantly new to all of the prior

12      disclosure.    Again, it doesn't even talk about the fraud, and

13      there's no context and no connection drawn.

14                   The last type of document that I'll sort of talk

15      about here -- but it's really -- these are just -- they don't

16      do what she says they do.      You know, they certainly have some

17      documents that talk about, here's what we expect from a

18      clinical specialist, here's what we expect from a manager of

19      clinical specialists.      Those documents in order to be

20      compensated, in order to be promoted say, you are expected to

21      do device checks, to proactively reach out to customers, and

22      make sure they're being taken care of, to add value.             Okay?

23                   That doesn't add anything materially new to the

24      already existing body of allegations about Medtronic reps

25      going out and doing free device checks, in order to sell
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 126 of 154
                                                                                126

 1      product.    This just says, in fact, your job is defined, in

 2      part, as going out and doing device checks, and we want you

 3      to add value; i.e., we want you to sell the product.             It's

 4      just giving the Government the same information that it

 5      already has because those definitions of the position are not

 6      connected to -- it's not a performance review of an

 7      individual who's being disciplined for, you know, you are

 8      doing -- are refusing to do free device checks, you know, I'm

 9      going to discipline you and demote you or something like

10      that.   And I'm just making stuff up because there's nothing

11      like that.

12                   That's the kind of new information; the who, what,

13      where, how information that Moore was talking about, and that

14      was available in Moore because of the discovery that had been

15      taking place, the depositions, the document discovery of the

16      defendant.    There is nothing here that does that.

17                   She mentioned, you know, strategic planning

18      documents.    Yeah, there's a document about how to do a

19      strategic plan.     There's, you know, documents about how to

20      handle recalls.     There's a HIPAA privacy fundamental, and

21      there's no HIPAA claim in this case.        Again, there's sort of

22      healthcare economics information that just -- none of this is

23      about -- is pertinent to or adds materially to what the fraud

24      is.   None of it contains individual employee information or

25      connections between employees and managers, instructing them
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 127 of 154
                                                                               127

 1      to perform fraud, instructing them to do the kind of stuff

 2      that's at issue here.

 3                  So, even if the Court considers this sort of giant

 4      set of documents that the relator has produced, kind of at

 5      the eleventh hour, there is nothing in there that materially

 6      adds to the public disclosures, and to the extent that this

 7      is what was provided to the Government in advance of filing

 8      the action.

 9                  I wanted to just wrap up because I know I've been

10      going for a long time.      If I might just address a couple of

11      Ms. Burke's points about the first part of this, which is

12      qualifying for the statute.       First, she pulled Stevens out

13      and read from it, and argued that the holding in Stevens is a

14      rejection of the notion that the relator serves as an agent

15      of the Government.     And I think I read, actually, the same

16      parts of the decision, too.

17                  The issue is not whether the Court held that, for

18      purposes of the bounty piece, the relator is a partial

19      assignee of the Government's right to recovery.          I think I

20      acknowledged that, I said it's part of the holding.              The

21      question is:    What about the rest?

22                  And the way the Court tees it up is that the Court

23      says -- I'm on it -- where the Court says:

24                  "It would perhaps suffice it to say that the

25                  relator is simply the statutorily designated agent
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 128 of 154
                                                                            128

 1                  in whose name, as the statute provides, the suit is

 2                  brought, and that the bounty is simply the fee,

 3                  that would take care of things, but that analysis

 4                  is precluded by the fact that the relator himself

 5                  has an interest."

 6                  I want to point the Court to the modifier on the

 7      "simply."    The Court is saying maybe it would be -- it would

 8      perhaps, in theory, suffice it to say that there's a simple

 9      answer here, across the board, the relator is an agent

10      because the statute designates him an agent.         But what the

11      Court is saying is it's not that simple, it's a little bit

12      more complicated, and we have to deal with the bounty

13      portion.    And that's why, at the end of that paragraph, after

14      the Court explains why that simple answer, to cover the

15      entirety of standing, doesn't work.        The Court says:

16                  "For the portion of the recovery retained by the

17                  relator, therefore, some explanation of standing

18                  other than agency must be identified."

19                  And then goes on to say, again:

20                  "There can be no doubt, of course, that, as to this

21                  portion of the recovery, the bounty he will

22                  receive, he has a concrete private interest."

23                  And then the Court goes on to talk about:

24                  "However, we believe that an adequate basis for the

25                  relator's suit for his bounty is to be found in the
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 129 of 154
                                                                         129

 1                  doctrine of an assignee of a claim and the partial

 2                  assignment of right, and therefore, that the U.S.

 3                  injury, in fact, suffices to confer standing on

 4                  Relator Stevens."

 5                  So what the Court is quite explicitly doing is

 6      saying, yeah, the statute designates you the agent, but our

 7      inquiry doesn't stop there.       That's what's being rejected

 8      here.   You've got this bounty that you have an independent

 9      right to sue for.     And for that, and that portion, we need

10      another answer, and we like the answer which is that you're a

11      partial assignee of rights, which is entirely consistent with

12      Footnote 4 and everything else she said.         And so the Court is

13      saying this is a little bit more complicated.

14                  And we cited a Fifth Circuit case, which is after

15      Stevens, which recognizes this is not a big deal because this

16      issue that we're really -- you know, just sort of cut away

17      because the Supreme Court had resolved the issue.          But

18      there's a Fifth Circuit decision which sort of acknowledges,

19      again, this sort of split issue that the relator is an agent,

20      and the relator is an assignee for purposes of the bounty in

21      a footnote in that decision, and it's cited in our brief.

22                  So, again, I just -- this case, I think just the

23      plain language and the logic of what the Supreme Court said

24      in Vermont Agency supports the fact that the relator -- I

25      mean, they're statutorily -- they're a statutorily designated
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 130 of 154
                                                                               130

 1      agent.   This is all consistent with the structure of the

 2      state.   The U.S. remains a real party-in-interest.

 3                  Of course, if the relator litigates the case, it

 4      ends up binding the United States across the board because,

 5      if Ms. Burke, you know, goes to trial and loses, the United

 6      States can't come in and say, oh, and now we want to

 7      relitigate our 70 percent sure.       So of course the United

 8      States is bound the same way a principal is bound by the

 9      agent, by the relator's actions.

10                  And in fact, the fact that the United States

11      retains a lot of rights, even when they don't intervene,

12      including the right to ask for copies of all the pleadings,

13      to supervise, to participate, if it elects, and not to, if it

14      doesn't, to monitors, required to be informed of the

15      proceedings, and can intervene for good cause shown at any

16      time is also indicative of the fact that they're a principal

17      who retains some degree of control over their agent.             The

18      agent certainly has the right to litigate the action, when

19      the Government doesn't intervene, and with respect to the

20      relator's bounty, has some special rights with respect to

21      Government objection to settlements and things like that,

22      which are -- the Supreme Court recognized.         But none of that

23      changes the fact that there's an agency relationship that

24      covers the rest of the case, and so -- that's designated by

25      statute.
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 131 of 154
                                                                         131

1                   With respect to the argument that the Gadbois case

2       somehow is inapposite and doesn't hold on the point that,

3       when the Government intervenes in an action, they become a

 4      party to the action, Gadbois is an example.         It cites

5       Eisenstein for the proposition, when the Government -- which

6       is a Supreme Court case from the 2009 -- when the Government

7       intervenes in an action, it intervenes in an action; when it

8       doesn't, it's not a party.

9                   You know, look, the plain language of the statute

10      says "intervene in the action."       It doesn't say you intervene

11      in the claim.    Her argument that the DOJ has somehow modified

12      through some sort of -- by its practice, whether longstanding

13      or not, of filing papers when it's choosing to settle a case

14      by saying that it's intervening in some, and not in others,

15      and that Courts acquiesce to that, doesn't change the

16      language of the statute or the status of DOJ.

17                  I think any litigant would be free to argue that,

18      even when DOJ files that, the DOJ becomes a party to the

19      action.   There's -- no court has ever disagreed with the

20      proposition that I'm advancing to you, and Gadbois agrees.

21      It says you become a party to the action when you intervene.

22      There's just -- you can't -- DOJ can't, by fiat, with

23      filings, just invent some new limitation that doesn't apply.

24                  Plus, this is the normal way things work, which is

25      -- in civil litigation, which is, if a party is only in a few
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 132 of 154
                                                                           132

 1      claims in a case, and not all of them, they're still a party

 2      to the case, right?     That doesn't mean that somebody can sue

 3      them on claims that haven't been asserted against them.

 4      Fine, it doesn't mean anything.       It just means -- but it

 5      still means that they're a party to the case.

 6                  If you've got three plaintiffs, right?        And two of

 7      the plaintiffs are pursuing two of the claims, and one of the

 8      plaintiffs is pursuing, you know, a different two claims,

 9      they're all still parties to the case.        So it's -- I think

10      it's really important here to recognize that, first of all

11      and foremost -- and it really ends the question -- the False

12      Claims Act itself says that, when the Government intervenes,

13      they intervene in the action.       Full stop.    That ends the

14      inquiry.    There is no case that says otherwise, and there is

15      no reason that's been given to suggest otherwise, other than

16      DOJ's practice in filing documents, which has never been

17      critically reviewed by a court, except to the extent you're

18      starting to see it be critically reviewed by Courts like

19      Gadbois, and the Courts are rejecting it.         And Ms. Burke

20      hasn't pointed to any court that's accepted it at face value,

21      where it's been contested.

22                  And then second, again, in normal civil litigation,

23      when you're either a party or not a party, whether you're in

24      all or some of the claims of the case.        And so we believe

25      that that's consistent, as well.       So the Government is a
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 133 of 154
                                                                          133

 1      party to two cases.      The relator is an agent of the

 2      Government with respect to all three, for purposes of the

 3      public disclosure bar.

 4                  With respect to substantial similarity, it's the

 5      last issue.    I think I address the principled concern with

 6      Ms. Burke's argument, that, somehow, most of these complaints

 7      should be ignored because they weren't pled with 9(b)

 8      specificity.

 9                  I think the only other thing I would say is I do

10      think, if the Court has any questions or hesitation about

11      whether the paragraphs we've presented do show that they're

12      substantially similar, this is not a high-bar test, whether

13      they're substantially similar under the Court's -- you know,

14      the much more fact-intensive test is the one under the

15      original source question, which is:        Given all the public

16      disclosures, does the information that she provided to the

17      Government in advance of the case materially add to the body

18      of what was publicly disclosed.

19                  But there is no requirement that the public

20      disclosures themselves have any particular level of detail.

21      They just need to disclose, as a general matter, the fraud

22      that's alleged in the complaint.       And here, we think they

23      more than do.

24                  THE COURT:    Very well, Counselor.

25                  Any final word, Attorney Burke?       You two, you don't
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 134 of 154
                                                                         134

 1      seem to agree on anything.

 2                  MS. BURKE:    Your Honor, I'll be brief, but I think

 3      there are a couple of important points to make; first, about

 4      whether or not a relator is an agent.

5                   There is a 2009 case that's after the Stevens case.

6       And in that case, it held that, when the United States

7       declines, it's no longer a party.        It's impossible to

8       reconcile that later Supreme Court holding with the manner in

 9      which Medtronic reads the Stevens case.         On the other hand,

10      if you read the Stevens case and look at what the Court

11      actually held, what the Court held was that the relator was a

12      partial assignee.     That holding is, in fact, then consistent

13      with the later Supreme Court ruling and --

14                  THE COURT:    Yeah, but the problem with that is, if

15      a statute says "the Government or its agent," who could it be

16      talking about?     Who else would be an agent in this type of

17      case, except the relator?

18                  MS. BURKE:    Well, Your Honor, the term "the

19      Government or its agent" is used elsewhere in the statute.

20      And what it's talking about is, for example, Centers for

21      Medicare and Medicaid.      They are referred to as an "agent of

22      the Government," so --

23                  THE COURT:    Isn't that considered the Government.

24                  MS. MAYER:    No, it --

25                  MS. BURKE:    No, it's considered an agent because it
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 135 of 154
                                                                          135

 1      says, if you file a claim on the Government or its agent.         So

 2      they are -- in that context, they're considered an agent.

 3                  THE COURT:    So you think the "Government" means

 4      just you have to file a claim against the United States

 5      Government or the United States Government, and any agency of

 6      the United States Government would not be the United States

 7      Government?

 8                  MS. BURKE:    So -- well, for example, it says the

 9      phrase "in which the Government or its agent is a party."

10      So, for example, if there was a case that wasn't -- it wasn't

11      a qui tam, but it was simply a lawsuit, and it was a lawsuit

12      against the Centers for Medicare and Medicaid, and that was

13      the named party.     That would qualify under this as something

14      that constituted a statutorily eligible public disclosure.

15                  THE COURT:    The Center --

16                  MS. BURKE:    So it's --

17                  THE COURT:    -- for Disease Control is an agent of

18      the United States Government?

19                  MS. BURKE:    Yeah, the -- it -- yes, the -- it's an

20      agent, it's an agency of the Government.         So you're thinking

21      of it as this is talking only about qui tam litigation.          It's

22      not.   It's talking about all civil litigation.

23                  So it used to be the case that a defendant, such as

24      Medtronic, would scour all lawsuits, among -- even amongst

25      private parties.     So Congress, when it amended it, says,
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 136 of 154
                                                                           136

 1      okay, wait a minute, this has gotten -- this has tipped the

 2      balance too far, we didn't want it to be so easy for

 3      defendants to get away from these qui tam lawsuits, so we're

 4      going to -- we're going to reign back in and shrink that pool

 5      of statutory-eligible lawsuits, and we're going to shrink it

 6      down to lawsuits that involve a -- they can involve a private

 7      party, but the Government or its agent has to be one of the

 8      parties.

 9                  So, for example, if, you know, the Town of Easton

10      sued the Federal Government and, through that lawsuit, all

11      sorts of facts came out that were pertinent, that would be an

12      eligible public disclosure because the Government or its

13      agent was a party.     So you can't think of this just as

14      talking only about qui tam lawsuits; it's not.          It's all

15      civil lawsuits.

16                  And I would suggest the fact that -- I mean, I view

17      the -- and I apologize.      I do not know the Latin phrase that

18      captures this, but of statutory interpretation.          But

19      "relator" is a term of art used in the statute.          If Congress

20      wanted to subsume declined qui tams into this category, and

21      Congress, obviously, is put on notice that the relator has

22      been held not to be an agent, but is held to be a partial

23      assignee, and the -- Congress is, obviously, put on notice

24      with the 2009 case of the Supreme Court that the United

25      States is not -- even if the relator pursues it, the United
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 137 of 154
                                                                               137

 1      States is not considered a party.        Now, if the relator was an

 2      agent, then the U.S., by definition, would be a party.

 3                   So, given that -- given the Supreme Court holdings,

 4      if Congress wanted to make sure it subsumed declined qui tams

 5      into this -- you know, into this statutorily eligible bucket,

 6      it would have used the term "relator."        So I think that

 7      there's no way you can read the two Supreme Court decisions

 8      that preceded the congressional change the way that Medtronic

 9      is urging.    I think it's counter to the -- it's counter to

10      that 2009, the Einstein [sic] decision, 556 U.S. 928.             It

11      basically makes that -- it basically ignores the impact of

12      that because that could -- you could not reach a decision

13      that the United States is not a party if you deemed relators

14      to be their agents.

15                   So I think -- I just think we're right on the law

16      on that one, Your Honor.      And for that reason, I think that

17      these need to be dismissed as having not identified

18      sufficient public disclosures.

19                   I'll speak briefly to the Gadbois case, simply just

20      to point out what I said about it.        That case doesn't have a

21      partial intervention, partial declination.         It's got two

22      different lawsuits.     One intervened; one declined.       So,

23      therefore, it doesn't shed any light on what's before Your

24      Honor, which is one of these partial interventions, partial -

25      - and as a practical matter, there hasn't been litigation
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 138 of 154
                                                                              138

 1      about this.    The Courts have gone along with it.

 2                  And in the particular case that we're dealing with,

 3      the Onwezen and Schroeder case, the Court entered that order.

 4      It could have rejected that and said, you're either in or

 5      you're out.    It didn't do that.     It went along with that

 6      approach.     And so I would suggest there's no reason for Your

 7      Honor not to go along with that approach, as well.

 8                  Importantly, I want to turn to the way in which

 9      Medtronic tries to get Your Honor to ignore the second

10      amended complaint, and also suggest that, somehow, we haven't

11      introduced admissible evidence because -- through -- that,

12      instead, it was just hearsay.       That's simply wrong.         The --

13      we put in an affidavit, we put in a declaration from Forney

14      as Exhibit 16, in which she says, at Paragraph 5:

15                  "Through my counsel, I am providing the Court with

16                  a Bates-stamped copy of the documents that my

17                  counsel provided to the Government in June 2015.

18                  The documents provided to the Government were not

19                  Bates-stamped, but otherwise, the documents are the

20                  same.    My counsel has marked this copy as marked

21                  Relator's Exhibit 18."

22                  That's direct knowledge.      She knows that.        That's

23      what was done.      These documents that we gave you and had

24      given to Medtronic were given to the Government.

25                  The other thing I would point out, and the reason
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 139 of 154
                                                                           139

 1      that I just suggest you look to the second amended complaint,

 2      the second amended complaint, she testified in her deposition

 3      that everything in the second amended complaint was given to

 4      the Government.     So it's simply a way for Your Honor to look

 5      at the documents, to look -- and they're quoted at length in

 6      the second amended complaint.       And the testimony there is at

 7      Forney 255 to 56.

 8                  So the suggestion that, somehow, at this -- that,

 9      halfway through discovery, you're supposed to simply accept

10      all of Medtronic's allegations that these documents are

11      meaningless to prove the fraud, and ignore our claims, that,

12      in fact, we are relying on these documents, and they will

13      prove the fraud.     It -- you're -- it's not at a point where

14      you're permitted to do that.       I mean, under Celotex and the

15      others, discovery hasn't closed.       We still get the benefit --

16      we get the benefit of the assumption that that is fraud.

17                  All of Medtronic's arguments, basically, are the

18      same arguments they use to argue there's no fraud.          They

19      characterize all -- they characterize everything we've put

20      forward as novel, immaterial, not proving any kind of fraud.

21      They simply dispute the entirety of the case.

22                  Well, when you look at it from our point of view,

23      we believe it's a strong fraud case.        We believe that sending

24      people out, incenting clinical specialists and sales reps to

25      get out there and give free services; services that are then
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 140 of 154
                                                                              140

 1      billed to the Government, services that are not paid for,

 2      services that are not paid for by the physicians, that is a

 3      kickback.

 4                  And so, when you look at it from our perspective,

 5      all of the documents that we gave you, and all the documents

 6      we gave the Government are material.        And they will be used

 7      to show the jury all of these people were financially

 8      incented to believe in this -- to behave this way.          And it

 9      worked.

10                  I mean, it worked even on Relator Forney.            I mean,

11      you know, she did it.      And she supervised other people,

12      instructed other people to do it.        The documents go to how

13      they were trained to do it, it goes to the implementation.

14      It goes to all of the specific details.

15                  And on that, I would suggest, Your Honor, that you

16      just look at the language of the Moore case.         Medtronic tries

17      to claim, okay, well, you know, that somehow I'm ignoring the

18      remainder of the public disclosures, except for the 9(b)

19      elements.    Not at all.    Those complaints, you can trudge

20      through them, as I did, you can read them in their entirety.

21      What I gave you were the high points.        I gave you their most

22      specific, their most detailed allegations because those are

23      the most powerful, right?

24                  The most powerful information is found in the Burns

25      complaint and in the Doe complaint.        And they've got actual
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 141 of 154
                                                                         141

 1      transactions, actual fraudulent transactions that they

 2      identify.    And those have power, and those have merit, and

 3      they are very similar to what we have.        But we have more, and

 4      we have different, and we have -- and we also have a

 5      completely different kickback scheme with the lead sigma.

 6                  So, when you look at Moore, which is really the

 7      case that's going to guide your analysis, it doesn't say, try

 8      to put yourself in the shoes of the Government and make a

 9      very stringent determination on materiality, not at all.

10      What it says is look at what is out there in the public, look

11      at it -- look at it in the public, and then look at Rule 9(b)

12      to see whether anything new has been added.         And so it reads,

13      you know:

14                  "Rule 9(b)'s pleading requirement is of some

15                  assistance."

16                  And it talks about 9(b).      And then it says:

17                  "In our view, this standard also serves as a

18                  helpful benchmark for measuring 'materially adds.'

19                  Specifically, a relator materially adds to the

20                  publicly disclosed allegation or transaction of

21                  fraud when it contributes information -- distinct

22                  from what was publicly exposed -- that adds in a

23                  significant way to the essential factual

24                  background; the who, what, when, where, and how of

25                  the events at issue."
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 142 of 154
                                                                            142

 1                  Measured by that standard, it is impossible to rule

 2      for Medtronic.     We have definitely added substantially to the

 3      factual background.      They've got some good facts that they've

 4      alleged; we have way more.        And we have a voluminous amount

 5      in the calendars that we have given to Your Honor.          So we

 6      have that -- we pass that bar.        And that is what the Third

 7      Circuit says is the bar of "materially adds."

 8                  And we think the reason then Medtronic is fighting

 9      so hard to claim you shouldn't look at the second amended

10      complaint, and you shouldn't actually look at the documents,

11      and kind of mocking the import of the documents, is because

12      it's pretty clear we pass that Third Circuit test.          I mean,

13      we have provided to the Government a substantial amount of

14      additional factual information.       We've given them names,

15      we've given them dates, we've given them details on how it is

16      done.

17                  And so, Your Honor, we think that this motion for

18      summary judgment should be denied, and that the case should

19      resume discovery.     Thank you, Your Honor.

20                  THE COURT:    Thank you very much, Counselor.

21                  MS. MAYER:    Your Honor, may I just address --

22                  THE COURT:    Sure.

23                  MS. MAYER:    -- two --

24                  THE COURT:    A final word?

25                  MS. MAYER:    -- two small points, Your Honor?
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 143 of 154
                                                                          143

 1                  THE COURT:    Sure.

 2                  MS. MAYER:    First, with respect to the agency

 3      issue, Ms. Burke is arguing that -- is conflating two terms,

 4      which mean very different things.        An "agency" is not an

 5      "agent," they're different.       CMS is an agency, DEA is an

 6      agency.   There are places in the False Claims Act that talk

 7      about aspects of the act that apply to officers or agencies

 8      of the United States.      That's distinct from whether the

 9      Government or an agent is acting.

10                  Second, is that provision meaningless?        Because --

11      I'm going to take her at her word.        Because I've almost, but

12      not quite, memorized the False Claims Act.         That -- there's

13      provisions that say, if you make payment to the Government or

14      an "agent," as opposed to "agency."        I'm assuming it says

15      "agent" for purposes of this discussion.

16                  The Government sometimes contract out, they use

17      physical intermediaries to collect money.         Like there could

18      be a private entity that the Government has contracted with

19      to collect funds, a granting institutions that's doing grants

20      with federal funds.      And if you make a false claim to an

21      agent -- to someone who is either an agent or a contracted

22      delegatee [sic] of authority from the Government, there is a

23      way for this to make perfect sense without it being

24      coextensive with federal agencies, which is how Ms. Burke

25      would have you read the term "agent."
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 144 of 154
                                                                           144

1                   Finally, Eisenstein doesn't support Ms. Burke's

2       position that an agent -- that, when it -- when the statute

3       says "the Government or its agent," it means the Government,

4       and nothing else.     In particular, she said Eisenstein makes

5       no sense because it holds that, in an non-intervened case,

6       the Government is not a party, and it couldn't be the case

7       that, if its agent satisfied this requirement, that would

8       make the Government a party.       And that's not the case.

9                   Eisenstein doesn't talk about agents in that term,

10      but Eisenstein talks about what it means to be a real party-

11      in-interest.    Okay?   And it says:

12                  "The phrase 'real party-in-interest' is a term of

13                  art used in federal law to refer to an actor with a

14                  substantive right, whose interest may be

15                  represented in litigation by another."

16                  And it refers to Federal Rule 17(a).        And FRCP

17      17(a) lists different types of examples, they're non-

18      exclusive, of where a real party-in-interest may have

19      delegated authority to someone to act in their interest for a

20      certain purpose, and one of those examples is designated by

21      statute.    So that's all that we're talking about here, not

22      for the part of the bounty where the rationale for relator

23      standing, according to Vermont Natural Resources, is that

24      they're a partial assignee in the Government's right.

25                  And for the rest of it, where the Government
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 145 of 154
                                                                         145

 1      remains a real party-in-interest, and is a real party-in-

 2      interest, the False Claims Act has delegated to relators the

 3      authority to sue on behalf of the United States, as well as

 4      the relator suing on their own behalf.        And that's just sort

 5      of the run-of-the-mill, same kind of agency that Stevens

6       recognized and that is recognized in Eisenstein in a

7       different context.

8                   Finally, with -- I mean, if it matters to the

 9      Court, in the Gadbois case, if you read, you know, three

10      sentences down, the Court does talk about, after going

11      through its analysis of the statute and the plain meaning of

12      the statute, it goes down and does some additional analysis

13      about the Court is concluding that the functional result of a

14      Government complaint is to amend the pleading.          And it

15      concludes -- and I'm looking -- by saying:

16                  "This means that the Government became a party to

17                  Mrs. Denk's whole action, every allegation, every

18                  cause of action, even if it elected only to proceed

19                  with and ultimately settle the claims related to

20                  controlled Schedule II drugs."

21                  I understand that Ms. Burke wants to say that,

22      somehow, if, ab initio, you say up front, I'm only going to

23      intervene in part of it, but the whole gist of this argument

24      of what's going on here and of the analysis here is that the

25      statute's plain language is plain, that you intervene in an
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 146 of 154
                                                                          146

 1      action, there's no separation.       It's a District of Rhode

 2      Island decision.     It is not binding, in any way, on this

 3      Court.   It's only useful to the extent it's persuasive, and

 4      that's the spirit in which it's offered.

 5                   Again, you know, she has no authority that she's

 6      pointed the Court to that holds otherwise, other than a

 7      practice of U.S. Attorney's Offices that does not appear ever

 8      to have been challenged meaningfully by the Courts or both

 9      other parties, and whose import, especially in the context of

10      whether it renders the United States a party, for purposes of

11      something like the public disclosure bar, hasn't been

12      addressed.

13                   And so I, under those circumstances, respectfully

14      suggest you default to the plain language of the statute,

15      unless -- with respect to -- sorry, next to last.          Just

16      because she mentioned in passing, if the Court has questions,

17      I want to address them.

18                   She said that, because we filed a motion for

19      summary judgment before discovery concluded, that somehow,

20      under Celotex, she is entitled to the benefit of an

21      assumption that she has shown fraud or is showing fraud, or

22      something along those lines.

23                   I wanted to emphasize that you are entitled, under

24      the rules, to ask for summary judgment at any point in time.

25      If the relator believes that there is additional factual
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 147 of 154
                                                                            147

 1      material that needs to be developed, in order for this motion

 2      to be ripe for consideration, there is a provision in the

 3      rules that allows her to assert that.        And if she can make a

 4      showing that there is specific additional discovery that's

 5      needed, in order to litigate the issues brought forward on

 6      summary judgment, then the Court can hold the summary

 7      judgment motion and go forward on that.

 8                  Rule 56 has been amended; I forget if it's (d) or

 9      (f) or what now, at this point.       But this is -- there's a

10      procedure, if you think summary judgment is premature, and

11      you need additional discovery, and you're entitled to it, to

12      take it, to do it.     She didn't invoke that provision.         She is

13      not asserting that there's more discovery that she's entitled

14      to or needs, in order to resolve the issues in the motion.            I

15      think it puts to bed whether this is a premature motion.

16                  The second issue is with respect to what inferences

17      or whatnot that she might or might not be entitled to.            There

18      is nothing special that she gets, in terms of inferences,

19      just because this is a summary judgment motion that's been

20      filed in the middle of summary judgment, versus otherwise.

21      The standard approach applies.

22                  We were the moving party, so it's our burden to

23      assert a record upon which we can say there are uncontested

24      facts that demonstrate that, to the extent we have a burden,

25      we can carry it, and to the extent she has a burden, she
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 148 of 154
                                                                             148

 1      can't meet it.     To the extent we do that, the burden then

 2      shifts to her to point specifically to facts that either

 3      materially place necessary facts in dispute, or that

 4      demonstrate -- to introduce new facts that demonstrate she

 5      can meet her burden.      There is nothing different or unusual

 6      about what's going on here, compared to the normal summary

 7      judgment approach.

 8                  And I think we've done that.      We believe we've more

 9      than carried our burden of demonstrating public disclosures

10      that are substantially similar to the allegations of fraud

11      that Ms. Forney alleged in her complaint.         I don't believe

12      there are any contested facts around that, only dispute about

13      legal issues and legal consequences of what's been disclosed.

14      The complaints say what they say.        Her complaint says what it

15      says, and those are the operative facts, for purposes of that

16      inquiry.

17                  When we turn to original source, we believe that,

18      since it's something she has a choice to invoke, she needs to

19      invoke it in the first instance; she has.         We believe we did

20      a good job why we don't believe she meets the standard.          I

21      don't believe, with the exception of -- I -- actually, I --

22      there's no facts in dispute around the original source, and I

23      do want to end by pointing this out to the Judge.

24                  We disagree about whether the information -- the

25      legal impact, from an admissibility perspective, of what
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 149 of 154
                                                                           149

 1      she's offered as of record.       She pointed to Ms. Forney's

 2      declaration that says, you know, I'm aware that these

 3      documents were provided.      I think her deposition makes clear

 4      that she didn't have personal knowledge of those documents,

 5      and that her knowledge of the date that anything was

 6      submitted to the Government was from her counsel.          Her

 7      counsel provided the Bates ranges.

 8                  Ms. Forney didn't even know if it was 1 document or

 9      5 documents or 12 documents.       She certainly didn't have

10      personal knowledge of the Bates ranges.         And that's fine, as

11      far as it goes.     I'm just saying that the way Ms. Burke has

12      chosen to put her evidence in is it's hearsay, and it's

13      inadmissible.    So we disagree about the legal import, but not

14      the actual underlying facts, so it's ripe for a decision on

15      that.

16                  In terms -- if the Court chooses to consider the

17      documents that were submitted to the Government in advance of

18      filing the case, and chooses to accept that this is the set

19      of what they were, we don't have any way to dispute that

20      that's what they were, and so that is the set that we're

21      going forward with, as what was provided.         Ms. Burke has,

22      even through this entire argument, not pointed the Court,

23      except in a couple of rare instances, to anything in those

24      documents, specifically, that she believes supports her

25      argument that they materially add to the public disclosures.
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 150 of 154
                                                                              150

 1                  And that's where I will end because she concluded

 2      her argument by saying that she focused on Burns and Doe and

 3      the 9(b) specificity there, the individual transactions and

 4      claims, because she said that's the really good stuff.            I

 5      want to close by pointing to something, if you are going to,

 6      unfortunately, spend a piece of the next part of your life

 7      going through these documents.

 8                  She has promised, at oral argument and in her

 9      brief, names and dates and all sorts of specificity about the

10      fraudulent scheme and the fraud that happened here, and in

11      particular the money stuff that adds to Burns and Doe and the

12      other complaints, right?      She's setting the bar, and saying

13      it's the specificity about claims submitted to the Government

14      payers.

15                  She, on her device check theory in those calendar

16      documents, which we only -- you know, which -- again, if you

17      look at -- the Government had no testimony about them or

18      characterization of them.      What she gave the Government was

19      just the pieces of paper you have here.         Okay?   That -- those

20      don't provide -- they provide no -- very little intelligible

21      information.    To the extent they do provide it, it's about

22      schedules and checks, no payer, no claim information.            So, if

23      claim information is the money here, it's not there in her

24      case.   And I specifically and on the record, you know --

25      well, okay.
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 151 of 154
                                                                            151

 1                   When, you turn to the consulting theory -- and

 2      she's mentioned the words "lean sigma" several times.            First

 3      of all, the words "lean sigma," I think, first appeared in

 4      the second amended complaint.         In any event, the consulting

 5      theory is more thinly pled than the device check theory.            The

 6      Court certainly did not dismiss it.

 7                   But I would like to point out that, when you're

 8      looking at these documents and you're looking for money in

 9      the documents, there is no document that shows transaction

10      level claim or detail with respect to any consulting theory

11      that might have.     She didn't plead any documents that would

12      show that.    She didn't offer any examples of claims that

13      resulted from some consulting kickback.         It has never been a

14      part of her allegations, which, again, are irrelevant to this

15      inquiry, but she's emphasizing them, and it's certainly not

16      in these documents.       So she, herself, in what she submitted

17      to the Government, on these -- what she claims is the most

18      important type of material additional information, it's just

19      not there.    And with that, I'll conclude.

20                   THE COURT:    Counsel?

21                   MS. BURKE:    One final, Your Honor?

22                   THE COURT:    Sure.

23                   MS. BURKE:    Your Honor, I simply want to address

24      this issue of hearsay, to make sure that Your Honor does

25      consider the information that we provided, all of the
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 152 of 154
                                                                           152

 1      documents, because, obviously, that's an important

 2      evidentiary submission.

 3                  Prior to the deposition, we had no knowledge that

 4      public disclosure was going to even be an issue at all.          And

 5      so, therefore, Ms. Forney had not refreshed her memory about

 6      what had happened several years ago.        We, subsequently, put

 7      in a declaration, firsthand knowledge, that she, herself,

 8      knows and is able to testify to exactly what was given the --

 9      given to the Government.

10                  And in addition, she also testified that she met

11      with the Government for a half a day.        And she testified in

12      the deposition itself, which I encourage you to read in full,

13      she testified to her recollection, prior to being refreshed

14      after the fact with the older -- you know, with the older

15      email transmissions and the like.        So this is firsthand --

16      this declaration is firsthand knowledge.         There's no hearsay

17      here.   She would be able to come and testify to a jury what

18      was given to the Government, what she gave to the Government,

19      and the like.    So I just wanted to make sure that Your Honor

20      is considering the documents as part -- as an admissible

21      submission.

22                  Obviously, we just have to agree to disagree with

23      Medtronic on materiality.      You know, we believe there's a

24      significant volume, a huge volume of specifics, of details,

25      of the who, when, what, where, about the implementation of
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 153 of 154
                                                                          153

 1      this fraudulent scheme, that aren't found in the other

 2      complaints.    And you can peruse the entirety of all of the

 3      other complaints, which I've done.        And what we brought

 4      forward is nowhere in any of those; the same theories in two

 5      of them, yes, different facts.       Thank you, Your Honor.

 6                  THE COURT:    Very well, Counselor.

 7                  Counsel, thank you very much for your thoroughness.

 8      I appreciate all the time you've given to this.          I know you

 9      went over the lunch hour here, so I hope you were able to get

10      some food, and I hope everyone has a very safe trip home.

11                  I will consider all your arguments here and take

12      another look at it all and make the appropriate decision.

13                  MS. BURKE:    Thank you, Your Honor.

14                  THE COURT:    Thank you very much.

15                  MS. MAYER:    Thank you, Your Honor.

16                  THE COURT:    And have a very happy holiday season.

17                  MS. BURKE:    Thank you.     You too, Your Honor.

18                  MR. STROMBERG:    You too, Your Honor.

19                  MS. MAYER:    Thank you.     You too, Your Honor.

20                  THE COURT OFFICER:     All rise.

21            (Proceedings concluded at 1:37 p.m.)

22                                       *****
     Case 5:15-cv-06264-EGS Document 72 Filed 01/23/18 Page 154 of 154
                                                                         154

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 2                                  CERTIFICATION

 3                  I certify that the foregoing is a correct

 4      transcript from the electronic sound recording of the

 5      proceedings in the above-entitled matter to the best of my

 6      knowledge and ability.

 7

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11                                                  January 18, 2018

12      Coleen Rand, AAERT Cert. No. 341

13      Certified Court Transcriptionist

14      For JDR Acquisitions, LLC/

15           Advanced Transcription

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